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                (ii)    thenature,sourceandamountof anyproceedsin theCollection
                                                                              Accounts,including
         Interest
                Proceeds andPrincipalProceeds,
                                            receivedsincethedateof determination
                                                                              of thelastMonthly
         Report(or,if morerecent,
                               thedateofdetermination
                                                  ofthelastNoteValuationReport);

                 (iii)     withrespecttoeachUnderlyingAsset(thatisnota Synthetic
                                                                               Security)andeachEligible
         Investment   thatis partof theCollateral,
                                                its Principal/Notional
                                                                    Balance,, annualinterestrate,Stated
         Maturity,issuer,Standard  & Poor'sRating(otherthananycreditestimate,privateratingor confidential
         rating)andMoody'sRating(otherthananyprivateor confidential    rating,butincludingwhethersuch
         security
                is onwatchforpossible   upgrade
                                              ordowngrade byMoody's) andanidentificationofanychangesin
         anysuchRatingsincethelastMonthlyReport;
               (iv)  with respect
                                to eachSynthetic  Securityits maturitydate,Principal/Notional  Balance,
         FixedPayment
                    Amounts (as defined in the relevant Synthetic Security), the obligor of the related
         Reference Obligation, guarantor on the related Reference Obligation (if any), Moody's Rating and Standard
         & Poor's Rating;

                  (v)(A) the identity of each Underlying Asset which became a Credit Risk Obligation, Defaulted
         Security, Withholding Security or Written Down Security since the date of determination of the last
         Monthly Report (or, if more recent, the date of determination of the last Note Valuation Report); (13) the
         identity of each Underlying Asset which has become a Credit Risk Obligation, Defaulted Security,
         Withholding Security or Written Down Security since the Closing Date indicating the date on which each
         such Underlying Asset became a Credit Risk Obligation, Defaulted Security, Withholding Security or
         Written Down Security; and (C) any disposition of an Underlying Asset pursuant to Section 12.1(a) and the
         identity and sale price, or Trading Gain Payment or Trading Loss Payment, as applicable, of such
         Underlying Asset;

                   (vi)      a calculation in reasonable detail necessary to determine compliance with each Coverage
         Test and, in the case of each Overcollateralization                Test, a comparison    of the respective
         Overcollateralization Ratio on such date to the respective Overcollateralization Ratio on the Closing Date
         and a statement as to whether such tests have been satisfied or have not been satisfied and, if not satisfied,
         the amount of principal to be paid on each Class of Notes in order to achieve compliance with the Coverage
         Tests;

                    (vii)    the identity (to the extent not covered by a preceding clause), and the Aggregate
          Principal/Notional Balance of (A) Fixed Rate Securities, (B) Floating Rate Securities, (C) Underlying
          Assets insured by each monoline insurer, (D) Underlying Assets part of the same issue in the case of the
          five largest such concentrations (by Aggregate Principal/Notional Balance), (E) Underlying Assets serviced
          by the same Servicer in the case of the five largest such concentrations (by Aggregate Principal/Notional
          Balance), (F) CMBS Securities, (G) RMBS Securities, (H) Automobile Securities, (I) Car Rental Fleet
          Securities, (J) CDO Securities, (K) Credit Card Securities, (L) Equipment Lease Securities, (M) Small
          Business Loan Securities and (N) Student Loan Securities; and

                  (viii)  Moody's Asset Correlation Test, Moody's Weighted Average Recovery Rate, Moody's
          Weighted Average Rating Factor, Standard & Poor's Weighted Average Recovery Rate, Weighted Average
          Coupon, Weighted Average Spread, Aggregate WAC Change Test and Aggregate WAS Change Test.

         In addition, the Issuer also shall indicate in each such Monthly Report the respective percentage of the Net
Outstanding Underlying Asset Balance for each aggregate amount referred to in clauses (i) and (vii) above.

         Within three Business Days after receipt of such Monthly Report, the Collateral Manager or the Issuer shall
notify the Trustee if the information contained in the Monthly Report does not conform to the information
maintained by them with respect to the Collateral. In the event that any discrepancy exists, the Trustee and the
Issuer, or the Collateral Manager on behalf of the Issuer, shall attempt to resolve the discrepancy within two
Business Days. If such discrepancy cannot be promptly resolved, the Trustee shall within five Business Days cause
the Independent accountants appointed by the Issuer pursuant to Section 10.10 to review such Monthly Report and



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theTrustee's
           records todeterminethecauseof suchdiscrepancy. If suchreviewrevealsanerrorin theMonthly
ReportortheTrustee'srecords,
                           theMonthlyReportortheTrustee's  recordsshallberevised
                                                                               accordinglyand,asso
revised,
      shallbeutilizedin making
                             allcalculations
                                          pursuanttothisIndenture.
       (b)   Distribution
                        Date. TheIssuershalldeliver,or causeto be delivered, anaccounting("Note
Valuation
        Report"),determinedasof eachDeterminationDate,to Moody's,Standard & Poor's(via e-mailto
CDO_Surveillance@standardandpoors.com),
                                     theTrustee,theCollateralManager,
                                                                    thePreference  SharePaying
Agent,eachSynthetic
                  Security
                         Counterparty,
                                    theInterest
                                             RateSwapCounterparty,theInitialInvestment
                                                                                     Agreement
Provider, and, upon written request therefor in the form of Schedule I attached hereto certifying that it is a Holder of
a Note or beneficial interest in any Note, each Holder of a beneficial interest in a Note (or its designee), and the
Depositary (accompanied by a request that it be transmitted to the holders of Notes on the books of the Depositary),
not later than two Business Days preceding the related Distribution Date. The Note Valuation Report shall contain
the following information (determined, unless otherwise specified below, as of the related Determination Date and
based, in part, on information received from the Collateral Manager):

                  (i)       the Aggregate Outstanding Amount of the Notes of each Class and as a percentage of the
         original Aggregate Outstanding Amount of the Notes of such Class on the first day of the immediately
         preceding Interest Period, the amount of principal payments to be made on the Notes of each Class on the
         next Distribution Date, the amount of any Deferred Interest in respect of each Class of Notes and the
         Aggregate Outstanding Amount of the Notes of each Class and as a percentage of the original Aggregate
         Outstanding Amount of the Notes of such Class after giving effect to the principal payments, if any, on the
         next Distribution Date;

                   (ii)    the Interest Distribution Amount payable to the Holders of the Notes for the related
         Distribution Date (in the aggregate and by Class);

                   (iii)    the Note Interest Rate for each Class of Notes for the Interest Period preceding the next
         Distribution Date;

                              (A)      the Administrative   Expenses payable on the next Distribution Date; and

                              (B)      the Management Fee payable on the next Distribution Date;

                    (iv)      for the Interest Collection Account:

                             (A)       the Balance credited to the Interest Collection Account at the end of the related
                    Due Period;


                               (B)      the amounts payable from the Interest Collection Account, pursuant to Section
                    11.1 (a)(i) on the next Distribution Date; and

                            (C)      the Balance remaining in the Interest Collection Account immediately         after all
                    payments and credits to be made on such Distribution Date;

                    (v)       for the Principal Collection Account:

                              (A)      the Balance credited to the Principal Collection Account at the end of the related
                    Due Period;

                               (B)      the amounts payable from the Principal Collection Account pursuant to Section
                    11.1 (a)(ii) on the next Distribution Date; and

                            (C)      the Balance remaining in the Principal Collection Account immediately after all
                    payments and credits to be made on such Distribution Date;




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                    (vi)     fortheSubstituted
                                            Collateral
                                                    Account:

                            (A)  theBalance
                                          creditedto theSubstituted
                                                                 Collateral
                                                                         Accountattheendof the
                    related
                          DuePeriod;
                                   and

                           (B)   theamounts creditedto theSubstituted
                                                                   Collateral Accountanddesignatedas
                    Principal
                            Proceeds
                                  tobedistributed
                                               pursuant toSection
                                                                11.1(a)(ii)onthenextDistribution
                                                                                               Date;
                (vii) theBalance credited
                                        to theExpense
                                                    AccountandtheInterest
                                                                        RateSwapCounterpart3,
         Collateral
                 AccountattheendoftherelatedDuePeriod;

               (viii) theAggregate Principal/Notional
                                                  Balance,
                                                        Weighted
                                                               AverageCoupon
                                                                           andWeighted
         Average
               Spread ofallUnderlying
                                    Assets;

                (ix)  thenature,sourceandamountof anyproceeds
                                                            in theCollection
                                                                           Accounts,including
         Interest
                Proceeds
                       andPrincipalProceeds,
                                          received
                                                 sincethedateof determination
                                                                           of thelastMonthly
         Report;
                (x)    with respectto eachUnderlyingAssetpurchased   with Uninvested Proceeds and
         Substituted
                   Collateral
                           Proceeds, andeachEligibleInvestmentpurchasedwith fundsfromthePrincipal
         Collection
                  Accountthatispartof theCollateral,
                                                 itsPrincipal/Notional
                                                                   Balance,annualinterest
                                                                                       rate,Stated
         Maturity,
                 issuer,
                      Standard &Poor'sRating;
               (xi)    (A)theidentityofeachUnderlying
                                                    Assetwhichbecame aDefaultedSecurityorWritten
         DownSecurity,sincethedateof determination
                                               ofthelastMonthlyReport(or,if morerecent,
                                                                                      thedateof
         determination
                    ofthelastNoteValuation Report);
                                                 and(B)theidentityofeachUnderlyingAssetwhichhas
         becomea DefaultedSecurityor WrittenDownSecurity,
                                                        sincetheClosingDateindicatingthedateon
         whicheachsuchUnderlyingAssetbecame aDefaulted
                                                     Security
                                                            orWrittenDownSecurity;          ..:
                (xii) thePrincipal/Notional
                                         Balance
                                               of anyUnderlying
                                                              Assetreplaced
                                                                          for acquiring
                                                                                      oneor
         moreEligibleSubstitute
                             Assets
                                  andtheAggregate
                                               Principal/Notional
                                                              Balance
                                                                    ofsuchUnderlyingAssets;

               (xiii) acalculation
                                 ofeachoftheitemssetforthin Section
                                                                  10.8(a)
                                                                       (determined
                                                                                asoftherelated
         Determination
                     Date);
                (xiv) thePreference  Shares Outstanding
                                                      (andasa percentage
                                                                       of thenumberof Preference
         SharesOutstandingontheftrstdayoftheimmediately
                                                      preceding
                                                              Interest
                                                                    Period),
                                                                           asreported
                                                                                    totheTrustee
         by thePreferenceSharePayingAgent,andtheamount  of Excess
                                                                Principal
                                                                       Proceedspayableonthenext
         Distribution
                    Date,asdeterminedwiththeassistance
                                                    oftheCollateral
                                                                 Manager;

                    (xv)      theExcess
                                      Interest
                                            payable
                                                 inrespect
                                                        of the            Preference Shares for the related Distribution
         Date (in the aggregate); and

          In addition, the Issuer also shall indicate in each such Note Valuation Report the respective percentage of
the Net Outstanding Underlying Asset Balance for each aggregate amount referred to in clauses (i) and (iv) through
(vii) of Section 10.8(a) (inclusive), which clauses are incorporated by reference in clause (xi) of this Section 10.8(b).
Each Note Valuation Report shall contain instructions to the Trustee to withdraw on the related Distribution Date
from the Payment Account and pay or transfer the amounts set forth in such Note Valuation Report in the manner
specified therein, and pay or transfer such amounts in accordance with the priorities established in Section 11.1 (a).

         In addition to the Note Valuation   Report, upon the written request of any holder of a beneficial interest in
any Note or its designee upon request by     the holder therefor in the form of Schedule I certifying that it is such a
holder, or any Holder of a Note shown on     the Note Register, or any Rating Agency, the Issuer shall deliver to such
Holder or Rating Agency, as the case may     be, a report containing the number and identity of each Underlying Asset




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heldbytheIssueronthelastdayof theDuePeriodmostrecentlyended(indicating
                                                                     whether
                                                                          anysuchUnderlying
AssetisaDefaulted
                Security
                       (asreported
                                 inwritingtotheTrustee
                                                     bytheCollateral
                                                                  Manager)).
           In addition to the foregoing information,   each Note Valuation   Report   shall include   a statement    (a "Section
3(c)(7)   DTC Notice") to the following effect:


                    "The Investment Company Act of 1940, as amended (the "Investment Company
                    Act"), requires that each holder of a Note (or any beneficial interest therein)
                    issued by the Issuers that is a U.S. person be a "qualified purchaser" as defined
                    in Section 2(a)(51)(A) of the Investment Company Act and related rules, a
                    "knowledgeable employee" with respect to the Issuer as specified in Rule 3c-5
                    promulgated under the Investment Company Act or a company each of whose
                    beneficial owners is such a qualified purchaser or a knowledgeable employee
                    with respect to the Issuer (collectively, "Qualified Purchaser"). Under the rules,
                    the Issuers or an agent acting on their behalf must have a "reasonable belief' that
                    each holder of its outstanding securities that is a U.S. person, including
                    transferees, is a Qualified Purchaser. Consequently, each resale of a Note in the
                    United States or to a U.S. Person must be made pursuant to Rule 144A under the
                    Securities Act of 1933, as amended (the "Securities Act"), solely to a purchaser
                    that is a "qualified institutional buyer" within the meaning of Rule 144A
                    ("Qualified Institutional Buyer") and a Qualified Purchaser. Each purchaser of a
                    Restricted Note will be deemed to represent at the time of purchase that: (i) the
                    purchaser is a Qualified Institutional Buyer and also a Qualified Purchaser; (ii)
                    the purchaser is not a dealer described in paragraph (a)(1)(ii) of Rule 144A
                    unless such purchaser owns and invests on a discretionary basis at least
                    $25,000,000 in securities of issuers that are not affiliated persons of the dealer;
                    (iii) the purchaser is not a plan referred to in paragraph (a)(1)(i)(D) or
                    (a)(1)(i)(E) of Rule 144A, or a trust fund referred to in paragraph (a)(1)(i)(F) of
                    Rule I44A that holds the assets of such a plan, unless investment decisions with
                    respect to the plan are made solely by the fiduciary, trustee or sponsor of such
                    plan; (iv) the purchaser, and each account for which it is purchasing, is required
                    to hold and transfer at least the minimum denominations of the Notes specified
                    in the Indenture; and (v) the purchaser will provide written notice of the
                    foregoing, and of any applicable restrictions on transfer, to any transferee.

                    The Issuers direct that the recipient of this notice, and any recipient of a copy of
                    this notice, provide a copy to any person having an interest in the Note as
                    indicated on the books of The Depository Trust Company or on the books of a
                    participant in The Depository Trust Company or on the books of an indirect
                    participant for which such participant in The Depository Trust Company acts as
                    agent.

                    This Indenture provides that if, notwithstanding the restrictions on transfer
                    contained therein, either of the Issuers determine that the owner of a Restricted
                    Note (or any interest therein) (A) is a U.S. person and (B) is not a Qualified
                    Purchaser, either of the Issuers may require, by notice to such Holder, that such
                    Holder sell all of its right, title and interest to such Restricted Note (or interest
                    therein) to a Person that is both (1) a Qualified Institutional Buyer and (2) a
                    Qualified Purchaser, with such sale to be effected within 30 days after notice of
                    such sale requirement is given. If such owner (or holder of a beneficial interest
                    therein) fails to effect the transfer required within such 30-day period, (i) upon
                    written direction from the Collateral Manager or the Issuer, the Trustee shall,
                    and is hereby irrevocably authorized by such owner (or holder of a beneficial
                    interest therein) to, cause its interest in such Note to be transferred in a
                    commercially reasonable sale (conducted by an investment bank selected by the



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                    Trusteewiththeconsent   oftheCollateral Manager,in accordancewithSection
                    9-610(b) of theNewYorkUniformCommercial        Codeasappliedto securities
                    thataresoldonarecognized    marketor thatmaydeclinespeedily in value)toa
                    Person thatcertifiesto theTrustee andtheCollateral Manager, in connection
                    withsuchtransfer,thatsuchPerson  is (1)aQualifiedInstitutional
                                                                                Buyerand(2)
                    a QualifiedPurchaser, and(ii) pending suchtransfer,
                                                                      nofurtherpayments will
                    bemadein respect  ofsuchNote(orinterest   therein),
                                                                      andtheNoteshallnotbe
                    deemed  to be Outstanding  for the purpose  of anyvoteor consent  of the
                    Noteholders. Asusedinthisparagraph,   theterm"U.S.person"hasthemeaning
                    givensuchtermwithinthemeaning    oftheRegulation S."

         (c)     Redemption  DateInstructions.Not morethanfive Business  Daysafterreceiving an Issuer
Request  requestinginformation regarding
                                       a redemption
                                                  pursuantto Section9.1,9.2,9.3or 9.4asof a proposed
Redemption   Datesetforthin suchIssuerRequest,
                                             theTrustee
                                                      shallprovidethenecessaryinformation(totheextent
it is available
              totheTrustee) totheIssuerandtheIssuershallcompute,
                                                               or causethecomputation of,thefollowing
information andprepare astatement(the"RedemptionDateStatement")
                                                              containingthefollowinginformation:
               (i)   theAggregate
                               Outstanding
                                        Amountof theNotesoftheClassorClasses
                                                                          toberedeemed
         asofsuchRedemption
                         Date;
              (ii)    theamount ofaccrued
                                        interest
                                               dueonsuchNotesasofthelastdayoftheInterest
                                                                                      Period
         immediately
                   preceding
                           suchRedemptionDate;
                (iii)   theamount
                                in theInterest
                                            Collection
                                                     Account
                                                          andPrincipal
                                                                    Collection
                                                                             Account
                                                                                   available
         forapplication
                      totheredemption
                                    ofsuchNotes;
                    (iv)      thenumber
                                     ofPreference
                                               Shares
                                                    toberedeemed
                                                              asofsuchRedemption
                                                                              Date;
                (v)    theamountofExcessInterest
                                              payable
                                                    in respect
                                                            ofsuchPreference
                                                                          Shares
                                                                               asofthelast
         dayoftheInterest
                        Periodimmediately
                                      precedingsuchRedemption
                                                            Date;and
               (vi)   theamountintheInterest
                                          Collection
                                                   Account
                                                         andPrincipal
                                                                   Collection
                                                                            Accountavailable
         asExcess
                Principal
                        Proceeds
                              forapplication
                                           towards
                                                 theredemption
                                                            ofsuchPreference
                                                                           Shares.
        (d)    If theTrustee shallnothavereceived
                                                anyaccountingprovided forinthisSection  10.8,theTrustee
shallusereasonable effortstocause
                                suchaccountingtobemadebytheapplicable    DistributionDateor Redemption
Date,andto theextenttheIssuerfailsto provideanyinformation   or reportspursuant to thisSection10.8,the
Trusteeshallbeentitledto retainanIndependent  certifiedpublicaccountant in connection therewithandthe
reasonablecostsincurred  by theTrusteefor suchIndependentcertifiedpublicaccountant   shallbereimbursed
pursuanttoSection 6.8.
          (e)      The Issuer (or the Collateral Manager) on its behalf shall notify the Rating Agencies promptly
after the First Distribution Date, of the Principal/Notional Balance and issuer of all Underlying Assets delivered
after the Closing Date and on or prior to First Distribution Date, if any.

          (f)      Upon receipt from the Trustee of the Monthly Reports, the Note Valuation Reports, the
Distribution Date instructions, the Redemption Date Statements and the certificates required in connection with the
purchase and sale of Collateral under the Indenture, the Collateral Manager shall review and verify the contents of
the aforesaid reports, instructions, statements and certificates.

          (g)       Nothing contained in this Section 10.8 (a) shall constitute the Trustee, the Issuer, the Preference
Share Paying Agent and the Collateral Manager as members of any partnership, joint venture, association, syndicate,
unincorporated business or other separate entity, (b) shall be construed to impose any liability as such on any of
them or (c) shall be deemed to confer on any of them any express, implied or apparent authority to incur any
obligation or liability on behalf of any other.


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           (tl)    Uponreceiptfrom the Issuer, the Trustee shall make available the Monthly Report and the Note
Valuation Report to each Rating Agency, the Issuer, the Collateral Manager, the Interest Rate Swap Counterparty,
the Initial Investment Agreement Provider, each Holder of a Note shown on the Note Register (other than DTC), the
Initial Purchaser, the Preference Share Paying Agent, each Transfer Agent, and, upon written request in the form of
Schedule I attached hereto certifying that it is a Holder of a Note or beneficial interest in any Note, to each Holder of
a Note shown on the Note Register or Holder of a beneficial interest in a Note, to such Holder; provided that the
Trustee shall email each Monthly Report or Note Valuation Report in a mutually agreed format at the e-mail
addresses set forth in Section 14.3(e).

          (i)      Other than with respect to transfers or pledges by the Collateral Manager in connection with
financing arrangements for the Collateral Manager, the Collateral Manager shall promptly notify the Trustee and the
Issuer of any sale or transfer of Preference Shares owned, directly or indirectly, by the Collateral Manager or its
Affiliates to a Person that is not an Affiliate of the Collateral Manager. Upon receipt of such notice, the Trustee
shall provide notice of such transfer to the Holders in the next Monthly Report or Note Valuation Report (without
disclosing the identity of the transferee), to the extent still Outstanding, of the Class A Notes, Class B Notes, Class C
Notes, Class D Notes and Class E Notes shown on the Note Register.

          (j)     The Issuer shall provide Standard & Poor's with an Excel Default Model Input File not later than
the eighth Business Day after the last day of each month (excluding any month as to which a Note Valuation Report
is rendered). The Issuer, at the same time, also shall provide Standard & Poor's with the results of Standard & Poor's
CDO Evaluator determined as of the last day of the prior month. All documents in this clause (j) shall be sent via e-
mail to CDO_Surveillance@standardandpoors.com.

          (k)     The Issuer shall provide the Rating Agencies with a collateral file not later than the eighth
Business Day after the last day of each month (including any month as to which a Note Valuation Report is
rendered). Such file shall be in a format that can be opened into an Excel spreadsheet. The collateral file shall
provide information on the assets within the portfolio as of the date of the most recent Monthly Report issued. The
following fields of information on each asset within the portfolio shall be included in the collateral file: obligor or
issue name; description of asset type; coupon or spread; CUSIP number or other identifier; par value; Stated
Maturity;,Standard & Poor's industry classification group; Standard & Poor's Rating; Moody's industry classification
group; and Moody's Rating (including whether such security is on watch for possible upgrade or downgrade by
Moody's).

         (1)      The Issuer shall not disclose the unpublished Standard & Poor's rating of any Underlying Asset
without the prior written consent of Standard & Poor's.

                          Section 10.9 Release of Securities.

          (a)      If no Event of Default has occurred and is continuing and subject to Article XII, the Issuer may, by
Issuer Order executed by an Authorized Officer of the Collateral Manager and delivered to the Trustee at least two
Business Days prior to the settlement date for any disposition of a Pledged Security certifying that the conditions set
forth in Section 12.1 are satisfied, direct the Trustee to release such Pledged Security from the lien of this Indenture
against receipt of payment therefor.

         (b)      The Issuer may, by Issuer Order executed by an Authorized Officer of the Collateral Manager and
delivered to the Trustee at least two Business Days prior to the date set for redemption or payment in full of a
Pledged Security, certifying that such Pledged Security is being redeemed or paid in full, direct the Trustee to
deliver such Pledged Security to the appropriate paying agent therefor on or before the date set for redemption or
payment, in each case against receipt of the redemption price or payment in full thereof.

         (c)      If an Underlying Asset is subject to an offer, the Trustee shall, as directed by the Collateral
Manager on behalf of the Issuer, take any of the following actions with respect to such Underlying Asset: give
consent, grant waiver, vote or exercise any or all other rights or remedies with respect to any such Underlying Asset.




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          (d)      The Trustee shall credit any proceeds received by it from the disposition of a Pledged Security to
the Interest Collection Account or the Principal Collection Account, as the case may be, unless simultaneously
applied to the purchase of Eligible Investments as permitted under and in accordance with requirements of Article
XII and this Article X.

         (e)       The Trustee shall, upon receipt of an Issuer Order at such time as there are no Notes Outstanding
and all obligations of the Issuers hereunder have been satisfied, release the Collateral from the lien of this Indenture.

         (f)       The Issuer may retain agents (including the Collateral Manager) to assist the Issuer in preparing
any notice or other report required under this Article X.

                          Section 10.10   Reports by Independent Accountants.

          (a)      The Issuer shaU appoint a ftrm of Independent certified public accountants of recognized national
reputation for purposes of preparing and delivering the reports or certificates of such accountants required by this
Indenture and the Issuer shall permit such Independent certified public accountants to have access to its records with
respect to the Collateral and otherwise assist the Independent certified public accountants in the preparation of those
reports. Upon any resignation by such fn'm, the Issuer shall promptly appoint by Issuer Order delivered to the
Trustee and each Rating Agency a successor thereto that shall also be a fm-n of Independent certified public
accountants of recognized international reputation. If the Issuer shall fail to appoint a successor to a finn of
Independent certified public accountants which has resigned within 30 days after such resignation, the Issuer shall
promptly notify the Trustee of such failure in writing. If the Issuer shall not have appointed a successor within ten
days thereafter, the Trustee shall promptly appoint a successor firm of Independent certified public accountants of
recognized national reputation. The fees of such Independent certified public accountants and its successor shall be
payable by the Issuer or by the Trustee as provided in Section 11.1.

          (b)       On the first Business Day following each Distribution Date falling in the month of August, the
Issuer shall cause to be delivered to the Trustee, the Collateral Manager and each Rating Agency an Accountants'
Report specifying the procedures applied and their associated findings with respect to the Note Valuation Report or
Redemption Date Statement prepared with respect to such Distribution Date. At least 60 days prior to the
Distribution Date in August 2007, the Issuer shall deliver or cause to be delivered to the Trustee an Accountant's
Report specifying in advance the procedures that such firm will apply in making the aforementioned findings
throughout the term of its service as accountants to the Issuer. The Trustee shall promptly forward a copy of such
Accountant's Report to the Collateral Manager, each Synthetic Security Counterparty, the Interest Rate Swap
Counterparty and each Holder of Notes of the Controlling Class at the address shown on the Note Register. The
Issuer shall not approve the institution of such procedures if a Majority of the Controlling Class, by notice to the
Issuer and the Trustee within 30 days after the date of the related notice to the Trustee, object thereto. In the event
such Independent certified public accountants require the Trustee to agree to the procedures performed by such
accountants, the Issuer shall direct the Trustee in writing to agree; it being understood and agreed that the Trustee
will deliver such letter of agreement in conclusive reliance upon the direction of the Issuer, and the Trustee makes
no independent inquiry or investigation as to, and shall have no obligation or liability in respect of, the sufficiency,
validity or correctness of such procedures.

         (c)     Any statement delivered to the Trustee pursuant to clause (b) above shall be delivered by the
Trustee to any Holder of a Note shown on the Note Register upon written request therefor.

                          Section 10.11   Reports to Rating Agencies, Etc.

         In addition to the information and reports specifically required to be provided to the Rating Agencies,
including reports under Section 10.8, each Synthetic Security Counterparty and the Interest Rate Swap Counterparty
pursuant to the terms of this Indenture or the Interest Rate Swap Agreement, the Issuer or the Collateral Manager on
behalf of the Issuer shall provide or procure to provide the Rating Agencies, each Synthetic Security Counterparty
and the Interest Rate Swap Counterparty with (a) all information or reports delivered to the Trustee hereunder, (b)
such additional information as the Rating Agencies, each Synthetic Security Counterparty or the Interest Rate Swap
Counterparty may from time to time reasonably request if such information may be obtained and provided without



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unreasonable
           burdenor expense   and(c)noticeof anywaivergivenpursuant to Section5.14. TheIssuershall
promptlynotifytheTrustee, eachSyntheticSecurityCounterparty,
                                                           theInterest
                                                                     RateSwapCounterparty andthe
Collateral
         Managerif theIssuer
                           becomes  awarethattheratingofanyClassofNoteshasbeen,orit isknownbythe
Issuerthatsuchratingwill be, changedor withdrawn.TheCo-Issuer  shallnotifytheRatingAgenciesof any
amendment oformodificationtoitsCertificate
                                        ofIncorporation.
                          Section 10.12   Tax Matters.

          (a)     The Issuer, and each Holder of any Notes by acceptance of such Notes, each agree to, where
permitted by applicable law, treat such Notes as indebtedness of the Issuer for federal, state and local income and
franchise tax purposes.

         (b)      The Issuer shall provide to any Preference Shareholder (or any Noteholder of a Note that is or may
be recharacterized as equity in the Issuer), upon written request therefor, (i) all information that a U.S. shareholder
making a "qualified electing fund" ("QEF") election (as deg'med in the Code) is required to obtain for U.S. federal
income tax purposes and (ii) a "PFIC Annual Information Statement" as described in Treasury Regulation §
1.1295-1(g) (or any successor Treasury Regulation or IRS release or notice), including all representations and
statements required by such statement, and will take any other steps necessary to facilitate a QEF election by such
Preference Shareholder.

          (c)       The Issuer and the Trustee agree that they do not intend for this Agreement to represent an
agreement to enter into a partnership, a joint venture or any other business entity for U.S. federal income tax
purposes. The Issuer and the Trustee shall not represent or otherwise hold themselves out to the IRS or other third
parties as partners in a partnership or members of a joint venture or other business entity for U.S. federal income tax
purposes.

          (d)      Neither the Issuer nor the Trustee shall file or cause to be filed any federal, state or local
partnership tax return with respect to this Agreement.

           (e)      The Issuer shall not file, or cause to be filed, any income or franchise tax return in any state of the
United States unless it shall have obtained advice of counsel prior to such filing that, under the laws of such
jurisdiction, the Issuer is required to file such income or franchise tax return.

           (f)      The Issuer shall not, and the Collateral Manager shall not cause the Issuer to, engage in any
activity or become the owner of any asset if the ownership or disposition of such asset (without regard to the other
activities of the Issuer) would cause the Issuer to be engaged, or deemed to be engaged, in a trade or business within
the United States for U.S. federal income tax purposes.

           (g)     If required to prevent the withholding and imposition of United States income tax, the Issuer shall
deliver or cause to be delivered a United States Internal Revenue Service Form W-8BEN to each withholding agent
related to an item included in the Collateral and each issuer of an Eligible Investment included in the Collateral or
Eligible Investment purchased by the Issuer and shall periodically deliver or cause to be delivered updated forms
thereafter, prior to the last day of the third succeeding calendar year (or otherwise upon the expiration or
obsolescence of such form).

        (h)       It is the intention of the parties hereto and, by its acceptance of a Note, each holder of a Note shall
be deemed to have agreed not to treat any income generated by such Note as derived in connection with the active
conduct of a banking, fmancing, insurance, or other similar business for purposes of section 954(h)(2) of the Code.

          (i)       The Issuer will provide, upon the reasonable request of and payment of the related expenses by,
any holder of a Preferred Share, any holder of equity in the Issuer or any Holder of a Note, any information the
Issuer has available to it that assists such holders with regard to filing requirements such holders may have as a
result of the controlled foreign corporation rules under the Code.




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                                                          ARTICLE     XI

                                                APPLICATION         OF MONIES


                          Section    11.1 Disbursements   of Monies   from Payment   Account.

         (a)      Notwithstanding any other provision in this Indenture, but subject to the other clauses of this
Article XI and Section 13.1, on each Distribution Date, the Trustee shall disburse amounts transferred to the
Payment Account from the Collection Accounts pursuant to Section 10.2(f) as follows and for application by the
Trustee in accordance with the following priorities (the "Priority of Payments"):

                   (i)      Interest Proceeds.    On each Distribution Date, Interest Proceeds with respect to the
          related Due Period will be distributed in the following order of priority:

                              (1)         to the payment of taxes, government fees and registered office fees owed by the
                    Issuers, if any;

                                (2)     up to a maximum amount on any Distribution Date equal to the Fee Cap
                    Amount plus an amount up to $150,000 per annum, (i) first, in the following order, to the payment
                    to the Trustee, the Preference Share Paying Agent, the Collateral Administrator and the
                    Administrator of accrued and unpaid fees owing to them under this Indenture; (ii) second, to the
                    payment of other accrued and unpaid Administrative Expenses incurred by or on behalf of the
                    Issuers (including any administrative expenses payable to the Collateral Manager, but excluding
                    the Management Fee and the Auction Agent Fee, if applicable), provided, that Administrative
                    Expenses payable to Deutsche Bank Trust Company Americas (in all of its capacities) shall be
                    paid prior to Administrative       Expenses payable to any other party under this Section
                    l l.l(a)(i)(2)(ii), Administrative Expenses payable to the Administrator shall be paid prior to
                    Administrative Expenses payable to any other party other than Deutsche Bank Trust Company
                    Americas under this Section 11.1 (a)(i)(2)(ii) and that Administrative Expenses payable to parties
                    other than the Trustee and Administrator shall be paid pro rata; and (iii) third, prior to the date on
                    which amounts credited to the Expense Account are transferred to the Payment Account (in
                    connection with the sale or disposition of substantially all of the Issuer's assets) for application as
                    Interest Proceeds pursuant to this Indenture, credited to the Expense Account an amount equal to
                    the lesser of (x) an amount sufficient to cause the Balance of all Eligible Investments and Cash in
                    the Expense Account, immediately after such credit, to equal $150,000 and (y) the amount by
                    which the Fee Cap Amount exceeds the sums paid under clauses (i) and (ii),

                              (3)      to the payment, pro rata, of any amount scheduled to be paid to an Interest Rate
                    Swap Counterparty pursuant to an Interest Rate Swap Agreement, together with any termination
                    payments (and any accrued interest thereon) payable by the Issuer pursuant to an Interest Rate
                    Swap Agreement and the Synthetic Securities other than amounts payable by reason of an event of
                    default or termination event as to which the Interest Rate Swap Counterparty under such Interest
                    Rate Swap Agreement or the Synthetic Security Counterparty under the Synthetic Securities, as
                    applicable, is the Defaulting Party or the sole Affected Party;

                           (4)      to the         payment   to the Collateral   Manager    of the      accrued   and   unpaid
                    Management Fee;

                             (5)       to the payment, pro rata, of the Class A-1 Interest Distribution Amount and the
                    Class A-2 Interest Distribution Amount;

                               (6)        to the payment of the Class B Interest Distribution Amount;

                             (7)     if either Class A/B Coverage Test is not satisfied on the related Determination
                    Date, and if any Class A Note or Class B Note remains Outstanding, to the payment of principal


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                    of, first,theClassA-1Notes,second,
                                                     theClassA-2Notesandthird,theClassB Notesto the
                    extentnecessary tocause
                                          eachoftheClassA/BCoverage
                                                                 Teststobesatisfied;

                             (8)      tothepayment
                                                oftheClassCInterest
                                                                 Distribution
                                                                            Amount;

                             (9)      to the payment of Class C Deferred Interest, if any;

                              (10)      if either Class C Coverage Test is not satisfied on the related Determination
                    Date and if any Class A Note, Class B Note or Class C Note remains Outstanding, to the payment
                    of principal of, first, the Class A-1 Notes, second, the Class A-2 Notes, third, the Class B Notes
                    and fourth, the Class C Notes, to the extent necessary to cause each of the Class C Coverage Tests
                    to be satisfied;

                             (11)     to the payment of the Class D Interest Distribution Amount;

                             (12)     to the payment of Class D Deferred Interest, if any;

                             (13)     if either Class D Coverage Test is not satisfied on the related Determination
                    Date and if any Class A Note, Class B Note, Class C Note or Class D Note remains Outstanding,
                    to the payment of principal of, first, the Class A-1 Notes, second, the Class A-2 Notes, third, the
                    Class B Notes, fourth, the Class C Notes and fifth, the Class D Notes, to the extent necessary to
                    cause each of the Class D Coverage Tests to be satisfied;

                             (14)     to the payment of the Class E Interest Distribution Amount;

                             (15)     to the payment of the Class E Deferred Interest, if any;

                               (16)    (i) on any Distribution Date occurring on or before the last day of the Priority
                    Distribution Period, to the payment of principal of the Class D Notes in an amount up to the Class
                    D Priority Redemption Amount for such Distribution Date until the 10% of the Aggregate
                    Outstanding Amount of the Class D Notes as of the Closing Date is paid and (ii) on any
                    Distribution Date occurring after the August 2009 Distribution Date to the payment of principal of
                    the Class D Notes until the Class D Notes are paid in full in an amount equal to 15% of the
                    remaining Interest Proceeds on such Distribution Date that would otherwise be paid under clause
                    (20) below but for the application of this clause (16);

                              (17)     to the payment, pro rata, of any termination payments (and any accrued interest
                    thereon) payable by the Issuer pursuant to any Interest Rate Swap Agreement and the Synthetic
                    Securities by reason of an event of default or termination event as to which the Interest Rate Swap
                    Counterparty under such Interest Rate Swap Agreement or the Synthetic Security Counterparty
                    under the Synthetic Securities, as applicable, is the Defaulting Party or the sole Affected Party;

                              (18)     to the payment of all accrued and unpaid Administrative Expenses of the Issuers
                    (including any accrued and unpaid fees and expenses owing to the Trustee, the Note Registrar, the
                    Preference Share Paying Agent, the Collateral Manager (other than the Management Fee), the
                    Auction Agent, the Share Registrar and the Administrator under this Indenture, the Management
                    Agreement, the Preference Share Paying Agency Agreement and the Administration Agreement)
                    not paid in full pursuant to and in the order stated in clause (2) above (whether as the result of the
                    limitations on amounts set forth therein or otherwise);

                              (19)      if no Optional Redemption,        Auction Call Redemption,       Clean-Up Call
                    Redemption or Tax Redemption has been successfully completed before the Accelerated
                    Amortization Date, on any Distribution Date occurring on or after the Accelerated Amortization
                    Date, ftrst, to the payment of principal of the Class D Notes until the Class D Notes have been
                    paid in full, second, to the payment of principal of the Class C Notes until the Class C Notes have


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                    beenpaidin full, third,tothepayment
                                                      of principalof theClassB NotesuntiltheClassB Notes
                    havebeenpaidinfull,fourth,tothepayment ofprincipaloftheClassA-2NotesuntiltheClassA-
                    2 Noteshavebeenpaidinfull and,fifth,tothepayment   ofprincipaloftheClassA-1Notesuntil
                    theClassA-1Noteshavebeenpaidinfull;and

                           (20) the remainder
                                            (the"ExcessInterest"),to be released
                                                                               fromthe lien of this
                    Indenture
                            andpaid(uponstanding
                                               orderof theIssuer)to thePreferenceShare
                                                                                     PayingAgent
                    credited to the Preference Share Payment Account for payment (subject to Section 11. l(f)) to the
                    holders of the Preference Shares as a distribution by way of dividend thereon.

                   (ii)     Principal Proceeds. On each Distribution Date, Principal Proceeds with respect to the
          related Due Period will be distributed in the following order of priority:

                              (1)      to the payment of the amounts referred to in clauses (1) through (6) of Section
                    11.1(a)(i) in the same order of priority specified therein, but only to the extent not paid in full
                    thereunder;

                              (2)      so long as each of the Overcollateralization      Tests is in compliance (after
                    application of the payments under all clauses of Section l l.l(a)(i) and clause (1) above) and
                    remains in compliance (after giving effect to the payments in this clause (2)), to the payment of the
                    Class C Interest Distribution Amount on the Class C Notes, but only to the extent not paid in full
                    in clause (8) of Section 11.l(a)(i);

                               (3)      so long as each of the Overcollateralization    Tests is in compliance (after
                    application of the payments under all clauses of Section 11.1 (a)(i)and clauses (1) and (2) above)
                    and remains in compliance (after giving effect to the payments in this clause (3)), to the payment
                    of the Class D Interest Distribution Amount on the Class D Notes, but only to the extent not paid
                    in full in clause (11) of Section 11.1 (a)(i);

                             (4)      to the payment of principal of the Class A-1 Notes until the Class A-1 Notes
                    have been paid in full;

                             (5)      to the payment of principal of the Class A-2 Notes until the Class A-2 Notes
                    have been paid in full;

                             (6)       to the payment of principal of the Class B Notes until the Class B Notes have
                    been paid in full;

                             (7)        to the payment of the amounts referred to in clause (8) and then clause (9) of
                    Section 11.1 (a)(i) but only to the extent not paid in full thereunder or hereunder;

                             (8)       to the payment of principal of the Class C Notes, until the Class C Notes have
                    been paid in full;

                               (9)      to the payment of the amounts referred to in clauses (11) and (12) of Section
                    11.1 (a)(i) but only to the extent not paid in full thereunder or hereunder;

                             (10)      to the payment of principal of the Class D Notes until the Class D Notes have
                    been paid in full;

                               (11)     to the payment of the amounts referred to in clauses (14) and (15) of Section
                    11.1 (a)(i) but only to the extent not paid in full thereunder or hereunder;

                             (12)      to the payment of principal of the Class E Notes until the Class E Notes have
                    been paid in full;


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                           (13) tothepayment    of theamountsreferred
                                                                    to in clauses
                                                                                (17)and(18)of Section
                    11.1
                       (a)(i)butonlytotheextent
                                             notpaidinfullthereunder
                                                                   orhereunder;and

                           (14) theremainder  (the"Excess
                                                        Principal Proceeds"),tobereleased fromthelienof
                    thisIndenture
                                andpaid(uponstandingorderof theIssuer)to thePreference SharePayingAgent
                    credited
                           tothePreference
                                         Share PaymentAccount forpayment   (subjecttoSection11.l(f)) tothe
                    HoldersofPreference
                                      Shares
                                           asa dividendonthePreference  Shares or (inthecaseof apayment
                    ontheScheduledPreference
                                           Share RedemptionDateoranyotherdateuponwhichthePreference
                    Sharesareredeemed)
                                     aspayment bywayofredemption   ofthePreference  Share
                                                                                        Redemption    Price
                    onredemptionofthePreference
                                              Sharesasprovidedin theIssuerCharter.
        (b)     Notwithstandinganyof the foregoing provisions,on the FinalMaturityDate,the Interest
Proceeds, thePrincipal
                    Proceedsandanyfundsin theExpense   Accountwill bedistributed
                                                                               inthefollowingorderof
priority:(i) tomakepaymentsoftheamounts referred
                                               toin clauses
                                                          (1)through(4)ofSection  11.l(a)(i)inthesame
orderofpriorityspecified
                       therein;
                              (ii) tomakepaymentsontheNotesin thefollowingorder:  first, to the payment,
pro rata, of the accrued and unpaid interest (including Defaulted Interest and any interest thereon) on the Class A-1
Notes and the Class A-2 Notes, second, to the payment of the Aggregate Outstanding Amount of the Class A-1
Notes and then to the payment of the Aggregate Outstanding Amount of the Class A-2 Notes, third, to the payment
of the accrued and unpaid interest (including Defaulted Interest and any interest thereon) on the Class B Notes and
then to the payment of the Aggregate Outstanding Amount of the Class B Notes, fourth, to the payment of the
accrued and unpaid interest (including any Class C Deferred Interest and any interest thereon, and any Defaulted
Interest and any interest thereon) on the Class C Notes and then to the payment of the Aggregate Outstanding
Amount of the Class C Notes, fifth, to the payment of the accrued and unpaid interest (including any Class D
Deferred Interest and any interest thereon, and any Defaulted Interest and any interest thereon) on the Class D Notes
and then to the payment of the Aggregate Outstanding Amount of the Class D Notes, and sixth, to the payment of
the accrued and unpaid interest (including any Class E Deferred Interest and any interest thereon, and any Defaulted
Interest and any interest thereon) on the Class E Notes and then to the payment of the Aggregate Outstanding
Amount of the Class E Notes, until each such Class is paid in full; (iii) to make payments of the amounts referred to
in clauses (17) and (18) of Section 11.1 (a)(i) in the same order of priority specified therein and (iv) the remainder to
make dividend or redemption payments, as applicable, to the Preference Shareholders.

          (c)      Not later than 12:00 p.m., New York time, on or before the Business Day preceding each
Distribution Date, the Issuer shall, pursuant to Section 10.2(0, remit or cause to be remitted to the Trustee to be
credited to the Payment Account an amount of Cash sufficient to pay the amounts described in Section l l.l(a)
required to be paid on such Distribution Date.

          (d)      If, on any Distribution Date, the amount available in the Payment Account from amounts received
in or prior to the related Due Period is insufficient to make the full amount of the disbursements required by the
statements furnished by or on behalf of the Issuer pursuant to Section 10.8(a), the Trustee shall make the
disbursements called for in the order and according to the priority set forth under Section 11.1 (a), subject to Section
13.1, to the extent funds are available therefor.

          (e)      Except as otherwise expressly provided in this Section 11.1, if on any Distribution Date the
amount available in the Payment Account from amounts received in the related Due Period is insufficient to make
the full amount of the disbursements required by any lettered subclause of Section 11.1 (a)(i) or Section 11.1 (a)(ii) to
different Persons, the Trustee shall make the disbursements called for by such subclause ratably in accordance with
the respective amounts of such disbursements then due and payable to the extent funds are available therefor.

          (f)       In the event that amounts distributable to the holders of the Preference Shares pursuant to this
Section 11.1 cannot be distributed to such Holders due to restrictions on such distributions under the laws of the
Cayman Islands, the Issuer shall notify the Trustee and the Preference Share Paying Agent and all amounts payable
to the Preference Shareholders pursuant to this Section 11.1 shall be held in the Preference Share Payment Account
until the First Distribution Date, or (in the case of any payment which would otherwise be payable on the Scheduled
Preference Share Redemption Date or any Redemption Date upon which the Preference Shares are redeemed) the
first Business Day, on which the Issuer notifies the Preference Share Paying Agent such distributions can be made to



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theholders of thePreference Shares(subject
                                        totheavailability
                                                        of suchamounts
                                                                    underCayman
                                                                              Islands
                                                                                    lawtopay
anyliabilityoftheIssuernotlimitedinrecoursetotheCollateral).
          Section ll.IA     Allocation Procedures.

           With respect to the Synthetic Securities, and before any disbursements are made pursuant to Section 11.1
on such date, any (1) Floating Payments and any other amounts due under any Synthetic Security, (2) Physical
Settlement Amounts, (3) Principal Payment Amounts, (4) payments of Additional Fixed Amounts, and (5)
termination amounts will be allocated in accordance with the allocation procedures described in this Section 11.1A
(the "Allocation Procedures") and, unless specifically set forth below, such amounts will not be applied according to
the priority of payments set forth in Section 11.1:

                   (i)      Floating Payments and other amounts due under the Synthetic Securities. If on' any
          Business Day, Floating Payments or any other amounts are due and payable by the Issuer in accordance
          with the provisions of any Synthetic Security, other than Interest Shortfall Amounts and any termination
          payments with respect to an early termination or an event of default (the "Synthetic Security Payment
          Amount"), the Trustee shall, on behalf of the Issuer, and pursuant to instruction of the Issuer or Collateral
          Manager acting on its behalf, subject to the procedures set forth in this Indenture:

                             (A)     withdraw      from the related Synthetic Security Collateral Account (including by
                    withdrawing the necessary    amount from the Investment Agreement) an amount equal to the lesser
                    of (1) the amount credited     to such Synthetic Security Collateral Account and (2) the Synthetic
                    Security Payment Amount;      and

                             (B)     if the amount withdrawn under (A) above is less than the Synthetic Security
                    Payment Amount, withdraw from the Principal Collection Account an amount equal to the lesser
                    of (1) the amount credited to the Principal Collection Account and (2) the Synthetic Security
                    Payment Amount less the amounts withdrawn pursuant to clause (A) above.

                  The Trustee, on behalf of the Issuer, and pursuant to instruction of the Issuer or Collateral
          Manager acting on its behalf, shall pay such proceeds to the relevant Synthetic Security Counterparty in an
          amount equal to the Synthetic Security Payment Amount.

                   (ii)      Physical Settlement Amount. If on any Business Day, the Physical Settlement Amount
          for any Delivered Obligation is due and payable by the Issuer to the relevant Synthetic Security
          Counterparty pursuant to the terms of the related Synthetic Security, the Trustee shall, on behalf of the
          Issuer, and pursuant to instruction of the Issuer or Collateral Manager acting on its behalf, subject to the
          procedures set forth in this Indenture:

                             (A)     withdraw from the related Synthetic Security Collateral Account (including by
                    withdrawing the necessary amount from the Investment Agreement) an amount equal to the lesser
                    of (1) the amount credited to such Synthetic Security Collateral Account and (2) the Physical
                    Settlement Amount; and

                            (B)      if the amount withdrawn under (A) above is less than the Physical Settlement
                    Amount, withdraw from the Principal Collection Account an amount equal to the lesser of (1) the
                    amount credited to the Principal Collection Account and (2) the Physical Settlement Amount less
                    the amounts withdrawn pursuant to clause (A) above.

                   The Trustee, on behalf of the Issuer, and pursuant to instruction of the Collateral Manager, shall
          pay such proceeds to the relevant Synthetic Security Counterparty in an amount equal to the Physical
          Settlement Amount.

                 (iii)    Principal Payment Amount.      If on any Business Day, there is a Principal Payment
          Amount with respect to any Reference Obligation under a Synthetic Security, the Trustee shall, on behalf


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         of the Issuer, and pursuant to instruction of the Collateral Manager, subject to the procedures set forth in
         this Indenture withdraw on the last day of the related Due Period from the related Synthetic Security
         Collateral Account (including by withdrawing the necessary amount from the Investment Agreement), an
         amount equal to the lesser of (1) the amount credited to such Synthetic Security Collateral Account
         (including the amount that the Issuer can withdraw from the Investment Agreement) and (2) the Principal
         Payment Amount, and such withdrawn amounts will be deemed to be Principal Proceeds and credited to the
         Principal Collection Account.

                  (iv)      Payments of Additional Fixed Amounts. If on any Business Day, the Issuer receives
         Additional Fixed Amounts, the Issuer shall allocate (i) any Interest Shortfall Reimbursement Payment
         Amount, into the Interest Collection Account as Interest Proceeds and (ii) any Writedown Reimbursement
         Payment Amount and any Principal Shortfall Reimbursement Payment Amount into the related Synthetic
         Security Collateral Account.

                   (v)      Termination or Novation of a Synthetic Security. If on any Business Day, (A)(x) there is
         an early termination of a Synthetic Security resulting from a termination event or an event of default
         pursuant to the terms of the related Synthetic Security, (y) the Issuer is the Defaulting Party or Affected
         Party (as such term is defined in the related Synthetic Security) and (z) as a result of the termination of the
         Synthetic Security, a termination payment is due to the Synthetic Security Counterparty or 03) the Issuer
         novates a Synthetic Security and a payment is due to the replacement synthetic swap counterparty (such
         amount, the "Synthetic Security Termination/Novation Payment (Issuer)") the Trustee shall, on behalf of
         the Issuer, and pursuant to written instruction of the Collateral Manager, subject to the procedures set forth
         in this Indenture:

                             (A)      withdraw from the Synthetic Security Collateral Account (including by
                    withdrawing the necessary amount from the Investment Agreement) an amount equal to the lesser
                    of (1) the amount credited to the Synthetic Security Collateral Account and (2) the Synthetic
                    Security Termination/Novation Payment (Issuer); and

                             03)       if the amount withdrawn under (A) above is less than the Synthetic Security
                    TerminationiNovation     Payment (Issuer), withdraw from the Principal Collection Account an
                    amount equal to the lesser of (1) the amount credited to the Principal Collection Account and (2)
                    the Synthetic Security Termination/Novation      Payment (Issuer) less the amounts withdrawn
                    pursuant to clause (A).

                   The Trustee, on behalf of the Issuer, shall pay from such proceeds any amounts due to the
          Synthetic Security Counterparty of the related Synthetic Security (other than with respect to a termination
          event or event of default where the Synthetic Security Counterparty is the Defaulting Party or Affected
          Party (as such term is defined in the Synthetic Security)).

                          Section   11,2 Trust Accounts.


          All funds held by the Trustee in any Account pursuant to the provisions of this Indenture, and not invested
in Underlying Assets or Eligible Investments as herein provided, shall be credited to one or more trust accounts,
maintained at a financial institution whose long-term rating is at least "BBB+" by Standard & Poor's, at least "Baal"
by Moody's, and if so rated, such rating is not on watch for downgrade and at least "BBB+" by Fitch, to be held in
trust for the benefit of the Noteholders. Except for the period beginning one Business Day prior to each Distribution
Date, to the extent funds credited to a trust account exceed amounts insured by the Federal Deposit Insurance
Corporation, or any agencies succeeding to the insurance functions thereof, and are not fully collateralized by direct
obligations of the United States, such excess shall be invested in Eligible Investments.

                                                       ARTICLE   XII

           PURCHASE         AND SALE      OF UNDERLYING      ASSETS    AND SUBSTITUTION          CRITERIA




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                          Section 12.1 Disposition of Underlying Assets.

          (a)       Subject to Section 10.9, the Issuer will not sell or otherwise dispose of any Underlying Asset,
except that:

                   (i)     the Collateral Manager will at its sole discretion, direct the Trustee to dispose of any
          Underlying Asset held by the Issuer that is or becomes an Equity Security, Credit Risk Obligation,
          Withholding Security, Written Down Security or Defaulted Security;

                    (ii)     any Equity Security must be disposed of within one year after receipt (or within one year
          of such later date as such security may In-st be disposed of in accordance with its terms and applicable law);
          provided that any Equity Security that is Margin Stock or that does not comply with paragraphs (11)through
          (k) of the definition of Asset Backed Security must be disposed of within five Business Days after the
          Issuer's receipt thereof (or within five Business Days of such later date as such security may first be
          disposed of in accordance with its terms);

                    (iii)    in the event of an Auction Call Redemption, Clean-Up Call Redemption, Optional
          Redemption or Tax Redemption of the Notes, the Issuer shall dispose of Underlying Assets without regard
          to the foregoing limitations; provided that (i) the Disposition Proceeds therefrom together with the Balance
          of the Cash and Eligible Investments in the Accounts (other than the Interest Rate Swap Counterparty
          Collateral Accounts and the Synthetic Security Issuer Accounts) will be at least sufficient to pay certain
          expenses and other amounts and redeem in whole but not in part all Notes (pursuant to Article IX) to be
          redeemed simultaneously at the applicable Redemption Price; and (ii) such Disposition Proceeds are used
          to make such a redemption;

                    (iv)     the Collateral Manager may, at its sole .discretion, direct the Trustee, in writing, to
          dispose of any Underlying Asset other than an Equity Security, Credit Risk Obligation, Withholding
          Security, Written Down Security or Defaulted Security; provided that the Aggregate Principal/Notional
          Balance of any such Underlying Assets disposed of pursuant to this clause (iv) during the period beginning
          on the Closing Date and ending on December 31, 2006 or any period beginning on January 1 of each year
          beginning in 2007 and ending on December 31 of such year does not exceed 20% of the Aggregate
          Principal/Notional Balance of all Underlying Assets as of the first day of such period;

            :       (v)       on or before the Distribution Date occurring in August 2011 and provided that the Class
          A/B Overcollateralization Test is in compliance on the relevant Measurement Date, the Collateral Manager
          may, at its sole discretion, direct the Trustee, in writing, to dispose of any Underlying Asset and the Trustee
          shall deposit or cause to be deposited the proceeds of such disposition (the "Substituted Collateral
          Proceeds") into the Substituted Collateral Account. The Collateral Manager may direct the Trustee to apply
          the amount on deposit in the Substituted Collateral Account to pay the purchase price of Eligible Substitute
          Assets identified by the Collateral Manager; provided that, after giving effect to such sale and the
          subsequent purchase, the Aggregate Principal/Notional Balance of all Eligible Substitute Assets purchased
          since the Closing Date shall not exceed 30% of the Net Outstanding Underlying Asset Balance as of the
          Closing Date; provided further that, so long as (a) the Moody's rating of the Class A Notes or Class B
          Notes is one or more subcategories below its Initial Rating, (b) the Moody's rating of the Class C Notes, the
          Class D Notes or the Class E Notes is two or more subcategories below its Initial Rating or (c), so long as
          any Note is Outstanding, the Moody's rating of any Class of Notes has been withdrawn and not reinstated,
          the Collateral Manager will not be permitted to dispose of Underlying Assets pursuant to this clause (v)
          unless the holders of a majority in aggregate outstanding principal amount of the Controlling Class has
          waived such restriction; and

                   (vi)     the Issuer will seek to sell each Defaulted Security (other than any Underlying Asset that
          is a Defaulted Security solely because it is rated "CC" or lower or "D" or "SD" by Standard & Poor's) in a
          commercially reasonable manner and no later than the date (the "Two Year Date") that is two years after
          such Underlying Asset became a Defaulted Security (or within two years of such later date as such
          Underlying Asset may first be sold in accordance with its terms and applicable law); provided that the Two



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          Year Date for any PIK Bond that becomes a Defaulted Security in accordance with clause (e) of the
          definition of Defaulted Security shall occur on the day that is two years from the date on which there has
          been a failure to pay interest in an amount equal to or exceeding the amount of interest due in one payment
          period.

provided, that after the occurrence and continuance of an Event of Default, any disposition of Underlying Assets
shall be made in accordance with the conditions set forth of Article V.

         (b)       After the Closing Date any disposition of an Underlying Asset will be conducted (i) on an "arms-
length basis" for a price that, in the judgment of the Collateral Manager, is fair and reasonable and, in the case of
Defaulted Security or Written Down Security, not materially less than the Fair Market Value thereof, (ii) in
accordance with the requirements of the Management Agreement and this Indenture and (iii) in the case of any such
purchase or sale effected with the Collateral Manager, the Issuer, the Trustee or any Affiliate of any of the
foregoing, in a secondary market transaction on terms at least as favorable to the Issuer and Noteholders as would be
the case if such Person were not so affiliated. The Trustee shall have no responsibility to oversee compliance with
the conditions in this Section 12.1 by the other parties.

          (c)     In connection with a Clean-Up Call Redemption, Auction Call Redemption or Optional
Redemption, Tax Redemption: (i) the Trustee shall release the Underlying Assets from the lien of this Indenture; (ii)
the Issuer may not direct the Trustee to sell (and the Trustee shall not be required to release) an Underlying Asset
pursuant to this Section 12.1(c) unless the certifications or payments by the Collateral Manager or the Auction
Agent required by Sections 9.1 through 9.4 have been delivered to the Trustee; and (iii) all the Underlying Assets to
be sold pursuant to this Section 12.1(c) must be sold in accordance with the requirements set forth in Sections 9.1
through 9.4, as applicable.

          (d)      Upon payment in full of the Notes, the Trustee shall cause the Issuer, or the Collateral Manager on
behalf of the Issuer, to sell and dispose of all the remaining Collateral (other than the Interest Rate Swap
Counterparty Collateral Account and the Synthetic Security Issuer Account and any amounts therein) or rights or
interest therein at one or more public or private sales called and conducted in any manner permitted by law. Any
money collected by the Trustee pursuant to this Section 12.1 (d) and any money that may then be held or thereafter
received by the Trustee hereunder shall be credited to the Payment Account and be applied subject to Section 11.1.

          (e)      Notwithstanding any of the limitations prescribed by the preceding paragraphs of this Section
12.1, if no Event of Default has occurred and is continuing, the Collateral Manager, on behalf of the Issuer, may, at
any time, direct the Trustee in writing to dispose of, and the Trustee shall dispose of in the manner so directed by the
Collateral Manager in writing, any Delivered Obligation received by the Issuer.

                          Section 12.2 Purchases of Underlying    Assets after the Closing Date and Substitution
                                           Criteria.

         (a)      A security may be Granted by the Issuer to the Trustee for inclusion in the Collateral as a Pledged
Underlying Asset, and the Trustee shall apply Uninvested Proceeds to pay the purchase price of such security
purchased by the Issuer, only if a binding commitment was made by or on behalf of the Issuer on or prior to the
Closing Date to purchase such security, as certified to the Trustee.

          (b)     The Issuer shall acquire (or shall have committed to acquire with customary settlement procedures
in the relevant markets) the portfolio of Underlying Assets on or prior to Closing Date, which portfolio shall have
the following characteristics (the "Portfolio Characteristics"):

                    (i)      the Aggregate Principal/Notional   Balance of the portfolio of Underlying Assets
          (including principal collections on such Underlying Assets credited to the Uninvested Proceeds Account on
          the Closing Date) shall be at least $700,106,212;

                   (ii)     each security shall be an Underlying Asset that, at the time of acquisition by the Issuer,
          was not deferring interest and did not have capitalized interest that had not been paid in full;



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                    (iii)      each of the Collateral Quality Tests shall be satisfied; and

                    (iv)       each of the Coverage Tests shall be satisfied.

          (c)       The Issuer, pursuant to binding commitments entered into prior to the Closing Date, will use its
best efforts to purchase on or before the Closing Date (following for customary settlement procedures following the
Closing Date), Underlying Assets having an Aggregate Principal/Notional Balance (including principal collections
on such Underlying Assets credited to the Uninvested Proceeds Account on the Closing Date), together with the
Aggregate Principal/Notional Balance of all Eligible Investments purchased with Principal Proceeds, not less than
$700,106,212.

          (d)      For each of the criteria set forth below, compliance with such criterion shall be measured after
giving effect to the disposition of an Underlying Asset and the corresponding acquisition of an Eligible Substitute
Asset (each disposition and acquisition, a "Substitution"); provided that if prior to giving effect to the disposition
relating to a Substitution, any of the criteria (other than paragraphs (i), (ii) and (v) below) is not met, the degree of
compliance with such criterion shall not be diminished after giving effect to a Substitution (collectively, the
"Substitution Criteria"):

                   (i)      after giving effect to a Substitution, the Aggregate Principal/Notional Balance of the
          purchased Eligible Substitute Assets with a Moody's Rating or a Standard & Poor's Rating of below "Baa3"
          or "BBB-", respectively, shall not exceed 10% of the Net Outstanding Underlying Asset Balance as of the
          Closing Date;

                    (ii)   after giving effect to a Substitution, the percentages of Underlying Assets that are RMBS
          Securities and CMBS Securities, respectively, shall not be reduced;

                   (iii)   after giving effect to a Substitution, the Aggregate Principal/Notional Balance of all
          Underlying Assets that are Synthetic Securities shall not exceed 40% of the Net Outstanding Underlying
          Asset Balance;

                   (iv)    after giving effect to a Substitution, the Aggregate Principal/Notional Balance of all
          Underlying Assets that are Fixed Rate Securities shall not exceed 10% of the Net Outstanding Underlying
          Asset Balance;

                    (v)        after giving effect to a Substitution, the number of issuers of Underlying Assets shall not
          be reduced;

                    (vi)        after giving effect to a Substitution, the Moody's Asset Correlation Test shall be satisfied;

                    (vii)       after giving effect to a Substitution, the Aggregate WAC Change Test shall be satisfied;

                    (viii)      after giving effect to a Substitution, the Aggregate WAS Change Test shall be satisfied;

                   (ix)      after giving effect to a Substitution, the Moody's Minimum Weighted Average Recovery
          Rate Test shall be satisfied;

                  (x)     after giving effect to a Substitution, the Standard & Poor's Minimum Weighted Average
          Recovery Rate Test shall be satisfied;

                   (xi)    after giving effect to a Substitution, the Aggregate Principal/Notional Balance of all
          Underlying Assets issued by the issuer of such Eligible Substitute Asset shall not exceed 3.00% of the Net
          Outstanding Underlying Asset Balance; provided that the Aggregate Principal/Notional Balance of all
          Underlying Assets issued by two such issuers shall not exceed 3.50% of the Net Outstanding Underlying
          Asset Balance; provided further that the Aggregate Principal/Notional Balance of Underlying Assets that
          have a Moody's Rating of "Bal" or below or are rated "BB+" or below by Standard & Poor's (if rated by


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          Standard & Poor's) and issued by any one issuer shall not exceed 2.75% of the Net Outstanding Underlying
          Asset Balance; provided further that the Aggregate Principal/Notional Balance of all Underlying Assets
          issued by two such issuers shall not exceed 3.25% of the Net Outstanding Underlying Asset Balance;

                   (xii)     with respect to the Servicers of the Underlying Asset being acquired, after giving effect
          to a Substitution, the Aggregate Principal/Notional Balance of all Underlying Assets serviced by one single
          Servicer does not exceed:

                    (a)     15% of the Aggregate Principal/Notional Balance of all Underlying Assets, if such
                            Servicer is rated "AA-" (if rated by Standard & Poor's) or higher or "Strong" or higher (if
                            ranked by Standard & Poor's);

                    (b)     10% of the Aggregate Principal/Notional Balance of all Underlying Assets, if such
                            Servicer is rated "A-" or higher (if rated by Standard & Poor's) or "Above Average" or
                            higher (if ranked by Standard & Poor's) and does not meet the ratings requirements of
                            clause (a) above;

                    (c)     7.5% of the Aggregate Principal/Notional Balance of all Underlying Assets, if such
                            Servicer is rated "BB+" or higher (if rated by Standard & Poor's) or "Average" or higher
                            (if ranked by Standard & Poor's) and does not meet the ratings requirements of clause (a)
                            or clause (b) above; and

                    (d)     6% of the Aggregate Principal/Notional Balance of all Underlying Assets, if such
                            Servicer does not meet the rating requirements of clause (a), clause (b) or clause (c)
                            above;

         provided that Wells Fargo or its Affiliates may constitute up to 20%, Countrywide Home Loans Inc. or its
         Affiliates may constitute up to 15%, Ameriquest Mortgage Company or its Affiliates may constitute up to
         15% and National City Home Loan Services or its Affiliates may constitute up to 12.5% of the Aggregate
         Principal/Notional Balance of all Underlying Assets;

                    (xiii)   the legal final maturity of such Underlying Asset is no later than the Stated Maturity;
          provided that up to 10% of the Aggregate Principal/Notional Balance of the Underlying Assets may have a
          legal final maturity after the Stated Maturity but in no event shall (A) the legal final maturity of any
          Underlying Asset occur later than five years after the Stated Maturity of the Notes or (B) the expected
          maturity of any Underlying Asset occur later than the Stated Maturity of the Notes;

                   (xiv)   after giving effect to a Substitution, the Aggregate Principal/Notional Balance of all
          Underlying Assets that are PIK Bonds shall not exceed 10% of the Net Outstanding Underlying Asset
          Balance;

                   (xv)    after giving effect to a Substitution, the Aggregate Principal/Notional Balance of all
          Underlying Assets with negative amortization features shall not exceed 5% of the Net Outstanding
          Underlying Asset Balance;

                    (xvi)   after giving effect to a Substitution, the Aggregate Principal/Notional Balance of all
          Underlying Assets that provide for the periodic payment of interest less f_equently than quarterly shall not
          exceed 5% of the Net Outstanding Underlying Asset Balance and the Aggregate Principal/Notional Balance
          of all Underlying Assets that provide for the periodic payment of interest less frequently than semi-annually
          shall not exceed 0% of the Net Outstanding Underlying Asset Balance; and

                   (xvii)   after giving effect to a Substitution, the Aggregate Principal/Notional Balance of all
          Underlying Assets issued in transactions managed by the Collateral Manager shall not exceed 2% of the
          Net Outstanding Underlying Asset Balance; and provided that such Underlying Assets shall only be
          acquired in secondary market transactions.



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                             Section 12.3 Conditions Applicable to all Transactions Involving Sale or Grant.

          (a)     The Collateral Manager shall not direct the Issuer to purchase any Underlying Asset for inclusion
in the Collateral directly fi-om any account or portfolio for which the Collateral Manager serves as investment
adviser, unless such transactions would comply with the Investment Advisers Act of 1940, as amended, and the
Collateral Manager shall not direct the Issuer to purchase any Underlying Asset for inclusion in the Collateral if
such purchase would result in a prohibited transaction tax under ERISA being imposed upon the Issuer. The Trustee
shall have no responsibility to oversee compliance with this clause by the other parties.

         (b)      Upon any Grant described in Section 12.2, all of the Issuer's right, title and interest to the Pledged
Security or Securities shall be Granted to the Trustee pursuant to the Granting Clauses of this Indenture, such
Pledged Security or Securities shall be registered in the name of the Trustee, and, if applicable, the Trustee shall
receive such Pledged Security or Securities.

                                                       ARTICLE XIH

                                            SECURED        PARTIES'   RELATIONS

                             Section 13.1 Subordination.

          (a)      Anything in this Indenture or the Notes to the contrary notwithstanding, the Issuer and the Holders
of the Notes agree for the benefit of the Interest Rate Swap Counterparty that the Notes and the Issuer's rights in and
to the Collateral (with respect to all amounts payable to the Interest Rate Swap Counterparty pursuant to Section
11.1(a)(i)(C), the "Subordinate Interests") shall be subordinate and junior to the rights of the Interest Rate Swap
Counterparty with respect to payments to be made to the Interest Rate Swap Counterparty pursuant to an Interest
Rate Swap Agreement to the extent and in the manner set forth in Section 11.1 (a). If any Event of Default has not
been cured or waived and acceleration occurs in accordance with Article V, including as a result of an Event of
Default specified in Section 5.1 (g) or 5.1 (h), all amounts payable to the Interest Rate Swap Counterparty pursuantto
Section 11.1(a)(i)(C) shall be paid in Cash or, to the extent the Interest Rate Swap Counterparty consents, other than
in Cash, before any further payment or distribution is made on account of the Subordinate Interests.                   :

          (b)       Anything in this Indenture or the Notes to the contrary notwithstanding, the Issuer and the Holders
of the Class B Notes, the Class C Notes, the Class D Notes and the Class E Notes agree for the benefit of the
Holders of the Class A Notes that the Class B Notes, the Class C Notes, the Class D Notes and the Class E Notes I
and the Issuer's rights in and to the Collateral (with respect to the Class A Notes, the "Subordinate Interests") shall
be subordinate and junior to the Class A Notes to the extent and in the manner set forth in this Indenture, including .
as set forth in Section 11.1(a). If any Event of Default has not been cured or waived and acceleration occurs in
accordance with Article V, including as a result of an Event of Default specified in Section 5.1(g) or 5.1(tl), the
Class A Notes shall be paid in full in Cash or, to the extent a Majority of the Class A Notes consent, other than in
Cash, in either case, in accordance with the Priority of Payments. The Holders of Notes evidencing Subordinate
Interests agree, for the benefit of the Holders of the Class A Notes, not to cause the filing of a petition in banlmaptcy,
insolvency, reorganization, moratorium, receivership, conservatorship or other similar laws now or hereafter in
effect against the Issuer or the Co-Issuer for failure to pay to them amounts due under the Notes evidencing such
Subordinate Interests or hereunder until the payment in full of the Class A Notes and not before one year and one
day have elapsed since such payment or, if longer, the applicable preference period then in effect, including any
period established pursuant to the laws of the Cayman Islands. _

          (c)      Anything in this Indenture or the Notes to the contrary notwithstanding, the Issuer and the Holders
of the Class C Notes, the Class D Notes and the Class E Notes agree for the benefit of the Holders of the Class B
Notes that the Class C Notes, the Class D Notes and the Class E Notes and the Issuer's rights in and to the Collateral
(with respect to the Class B Notes, the "Subordinate Interests") shall be subordinate and junior to the Class B Notes
to the extent and in the manner set forth in this Indenture, including as set forth in Section ll.l(a). If any Event of
Default has not been cured or waived and acceleration occurs in accordance with Article V, including as a result of
an Event of Default specified in Section 5.1(g) or 5.1(h), the Class B Notes shall be paid in full in Cash or, to the
extent a Majority of the Class B Notes consent, other than in Cash, in either case, in accordance with the Priority of



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Payments.TheHolders  ofNotesevidencing  SubordinateInterestsagree,forthebenefitoftheHolders  oftheClass
B Notes,notto causethefilingof a petitionin bankruptcy,insolvency,reorganization,
                                                                                moratorium, receivership,
conservatorship
             or othersimilarlawsnoworhereafter  in effectagainsttheIssuerortheCo-Issuer forfailuretopay
tothemamounts dueundertheNotesevidencing    suchSubordinateInterestsorhereunderuntilthepayment  infullof
theClassB Notesandnotbeforeoneyearandonedayhaveelapsed       sincesuchpayment or,if longer,theapplicable
preference
         periodthenineffect,including
                                    anyperiodestablished  pursuanttothelawsoftheCayman    Islands.
        (d)     AnythinginthisIndenture
                                      ortheNotestothecontrary    notwithstanding,  theIssuer andtheHolders
oftheClassDNotesandtheClassENotesagree    forthebenefitoftheHolders     oftheClassCNotesthattheClassD
NotesandtheClassE NotesandtheIssuer's  rightsin andtotheCollateral   (withrespect   totheClassCNotes,the
"Subordinate Interests")
                      shallbesubordinate
                                       andjuniortotheClassC Notestotheextentandin themanner                set
forthin thisIndenture,
                     includingassetforthin Sectionll.l(a). If anyEventof Defaulthasnotbeencuredor
waivedandacceleration occursin accordance
                                        withArticle V, including as a result of an Event of Default specified
in Section 5.1(g) or 5.1(h), the Class C Notes shall be paid in full in Cash or, to the extent a Majority of the Class C
Notes consent, other than in Cash, in either case, in accordance with the Priority of Payments. The Holders of Notes
evidencing Subordinate Interests agree, for the benefit of the Holders of the Class C Notes, not to cause the filing of
a petition in bankruptcy, insolvency, reorganization, moratorium, receivership, conservatorship or other similar laws
now or hereafter in effect against the Issuer or the Co-Issuer for failure to pay to them amounts due under the Notes
evidencing such Subordinate Interests or hereunder until the payment in full of the Class C Notes and not before one
year and one day have elapsed since such payment or, if longer, the applicable preference period then in effect,
including any period established pursuant to the laws of the Cayman Islands.

          (e)       Anything in this Indenture or the Notes to the contrary notwithstanding, the Issuer and the Holders
of the Class E Notes agree for the benefit of the Holders of the Class D Notes that the Class E Notes and the Issuer's
rights in and to the Collateral (with respect to the Class E Notes, the "Subordinate Interests") shall be subordinate
and junior to the Class D Notes to the extent and in the manner set forth in this Indenture, including as set forth in
Section 11.l(a). If any Event of Default has not been cured or waived and acceleration occurs in accordance with
Article V', including as a result of an Event of Default specified in Section 5. l(g) or 5. l(h), the Class D Notes shall
be paid in full in Cash or, to the extent a Majority of the Class D Notes consent, other than in Cash, in either case, in
accordance with the Priority of Payments. The Holders of Notes evidencing Subordinate Interests agree, for the
benefit of the Holders of the Class D Notes, not to cause the filing of a petition in bankruptcy, insolvency,
reorganization, moratorium, receivership, conservatorship or other similar laws now or hereafter in effect against the
Issuer or the Co-Issuer for failure to pay to them amounts due under the Notes evidencing such Subordinate Interests
or hereunder until the payment in full of the Class D Notes and not before one year and one day have elapsed since
such payment or, if longer, the applicable preference period then in effect, including any period established pursuant
to the laws of the Cayman Islands.

           (f)     In the event that, notwithstanding the provisions of this Indenture, any holder of any Subordinate
Interests shall have received any payment or distribution in respect of such Subordinate Interests contrary to the
provisions of this Indenture, then, unless and until all amounts payable to the Interest Rate Swap Counterparty
pursuant to Section 11.1(a)(i)(C) or the Class A Notes, Class B Notes, Class C Notes, Class D Notes and Class E
Notes, as the case may be, shall have been paid in full in Cash or, to the extent the Interest Rate Swap Counterparty
or a Majority of the Class A Notes, Class B Notes, Class C Notes, Class D Notes and Class E Notes, as the case may
be, consent, other than in Cash, in either case, in accordance with the Priority of Payments, such payment or
distribution shall be received and held in trust for the benefit of, and shall forthwith be paid over and delivered to,
the Trustee, which shall pay and deliver the same to such Interest Rate Swap Counterparty or the Holders of the
Class A Notes, Class B Notes, Class C Notes, Class D Notes and Class E Notes, in accordance with the Priority of
Payments; provided that, if any such payment or distribution is made other than in Cash, it shall be held by the
Trustee as part of the Collateral and subject in all respects to the provisions of this Indenture, including this Section
13.1.

           (g)     Each Holder of Subordinate Interests agrees with the Interest Rate Swap Counterparty and all
Holders of the Class A Notes the Class B Notes, the Class C Notes, the Class D Notes and the Class E Notes as the
case may be, that such Holder of Subordinate Interests shall not demand, accept, or receive any payment or
distribution in respect of such Subordinate Interests in violation of the provisions of this Indenture including this



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Section13.1;provided
                   thatafterallamounts payablepursuant toSection11.1(a)(i)(C)orin respect
                                                                                       of theClassA
Notes,ClassB Notes,ClassCNotes,ClassD NotesandClassENotes,asthecasemaybe,havebeenpaidin full,
theHoldersof Subordinate
                      InterestsshallbefullysubrogatedtotherightsoftheInterestRateSwapCounterparty or
theHoldersoftheClassA Notes,ClassB Notes,ClassCNotes,ClassDNotesandClassE Notes,asthecasemay
be. Nothing
          inthisSection13.1shallaffecttheobligation
                                                  oftheIssuertopayHolders  ofSubordinateInterests.
                          Section   13.2 Standard   of Conduct.


          In exercising any of its or their voting rights, rights to direct and consent or any other rights as a Secured
Party under this Indenture or as a Preference Shareholder, subject to the terms and conditions of this Indenture,
including Section 5.9, a Secured Party or Secured Parties or a Preference Shareholder shall not have any obligation
or duty to any Person or to consider or take into account the interests of any Person and shall not be liable to any
Person for any action taken by it or them or at its or their direction or any failure by it or them to act or to direct that
an action be taken, without regard to whether such action or inaction benefits or adversely affects any Secured Party,
the Issuer or any other Person.

                                                       ARTICLE      XIV

                                                     MISCELLANEOUS

                          Section 14.1 Form of Documents Delivered to Trustee.

          In any case where several matters are required to be certified by, or covered by an opinion of, any specified
Person, it is not necessary that all such matters be certified by, or covered by the opinion of, only one such Person,
or that they be so certified or covered by only one document, but one such Person may certify or give an opinion
with respect to some matters and one or more other such Persons as to other matters, and any such Person may
certify or give an opinion as to such matters in one or several documents.
                                                                                                                         ,!


          Any certificate or opinion of an Authorized Officer of the Issuer, the Co-Issuer or the Collateral Manager
may be based, insofar as it relates to legal matters, upon a certificate or opinion of, or representations by, counsel,
unless such Authorized Officer knows, or in the exercise of reasonable care should know, that the certificate or
opinion or representations with respect to the matters upon which his certificate or opinion is based are erroneous.
Any such certificate of an Authorized Officer of the Issuer, the Co-Issuer or the Collateral Manager or Opinion of
Counsel may be based, insofar as it relates to factual matters, upon a certificate or opinion of, or representations by,
an Authorized Officer of the Issuer, the Co-Issuer, the Collateral Manager or any other Person, stating that the
information with respect to such factual matters is in the possession of the Issuer, the Co-Issuer, the Collateral
Manager or such other Person, unless such Authorized Officer of the Issuer, the Co-Issuer or the Collateral Manager
or such counsel knows that the certificate or opinion or representations with respect to such matters are erroneous.
Any Opinion of Counsel may also be based, insofar as it relates to factual matters, upon a certificate or opinion of,
or representations by, an Authorized Officer of the Issuer or the Co-Issuer, stating that the information with respect
to such matters is in the possession of the Issuer or the Co-Issuer, unless such counsel knows that the certificate or
opinion or representations with respect to such matters are erroneous.

           Where any Person is required to make, give or execute two or more applications, requests, consents,
certificates, statements, opinions or other instruments under this Indenture, they may, but need not, be consolidated
and form one instrument.

          Whenever in this Indenture it is provided that the absence of the occurrence and continuation of a Default is
a condition precedent to the taking of any action by the Trustee at the request or direction of the Issuer or the Co-
Issuer, then notwithstanding that the satisfaction of such condition is a condition precedent to the Issuers' rights to
make such request or direction, the Trustee shall be protected in acting in accordance with such request or direction
if a Trust Officer of the Trustee does not have actual knowledge of the occurrence and continuation of such Default
as provided in Section 6.1 (d).




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                          Section 14.2 Acts of SecuritTholders.

         (a)       Any request, demand, authorization, direction, notice, consent, waiver or other action provided by
this Indenture to be given or taken by Securityholders may be embodied in and evidenced by one or more
instruments of substantially similar tenor signed by such Securityholders in person or by an agent duly appointed in
writing; and, except as herein otherwise expressly provided, such action shall become effective when such
instrument or instruments are delivered to the Trustee, and, where it is hereby expressly required, to the Issuer. Such
instrument or instruments (and the action or actions embodied therein and evidenced thereby) are herein sometimes
referred to as the "Act" of the Securityholders signing such instrument or instruments. Proof of execution of any
such instrument or of a writing appointing any such agent shall be sufficient for any purpose of this Indenture and
conclusive in favor of the Trustee and the Issuers, if made in the manner provided in this Section 14.2.

         (b)    The fact and date of the execution by any Person of any such instrument or writing may be proved
in any manner which the Trustee deems sufficient.

          (c)    The principal amount and registered numbers of Notes or the number of Preference Shares held by
any Person, and the date of his holding the same, shall be proved by the Note Register or the Share Register, as
applicable.

         (d)      Any request, demand, authorization, direction, notice, consent, waiver or other action by the
Holder of any Securities shall bind the Holder (and any transferee thereof) of such Security and of every Security
issued upon the registration thereof or in exchange therefor or in lieu thereof, in respect of anything done, omitted or
suffered to be done by the Trustee or the Issuers in reliance thereon, whether or not notation of such action is made
upon such Security.

           (e)      In the event that, pursuant to Section 13(b) of the Management Agreement, Holders of at least
sixty-six and two-thirds percent (66 %) in Aggregate Outstanding Amount of any Class of Notes or holders of at
least sixty-six and two-thirds percent (66 %) of Preference Shares (excluding from such votes the Collateral
Manager Securities if the proposed Replacement Manager is an Affiliate of the Collateral Manager) object to a
proposed Replacement Manager within 30 days after such notice (the "First Period"), the Trustee shall notify the
Holders of the Securities that such Replacement Manager has been rejected. Such notice shall state that a Majority-
in-Interest of Preference Shareholders may nominate a successor Collateral Manager within 60 days after the
termination of the First Period (the "Second Period") and specify a date (not more than twenty (20) days after the
end of the First Period), time and place for a meeting (which meeting may be held telephonically) at which Holders
of the Preference Shares may nominate (if necessary, by a Majority vote of the Holders of the Preference Shares
present at such meeting) not more than two proposed successor Collateral Managers (which proposed successor
Collateral Managers shall meet the requirements of a Replacement Manager specified in clauses (i) and (ii) of the
second paragraph of such Section 13(b). The Trustee shall notify each Holder of a Preference Share and each
Noteholder of the successor Collateral Managers proposed at such meeting and request that each Holder of a
Preference Share and each Noteholder, by notice given to the Trustee not later than twenty (20) days after such
meeting, select a successor Collateral Manager (if there are two proposed successor Collateral Managers) or approve
such proposed Collateral Manager (if only one successor Collateral Manager is proposed). If such a successor
Collateral Manager is objected to by a Majority-in-Interest of Preference Shareholders or by Holders of sixty-six and
two-thirds percent (66 %) in Aggregate Outstanding Amount of any Class of Notes, the Trustee shall notify each
Holder of a Preference Share of the failure to appoint a successor Collateral Manager and specify a date (prior to the
end of the Second Period), time and place for a meeting (which meeting may be held telephonically) at which a
Majority-in-Interest of the Preference Shareholders present (so long as Holders of at least sixty-six and two-thirds
percent (66 %) of the Preference Shares are represented at such meeting) may appoint a successor Collateral
Manager.       The Collateral Manager Securities shall be excluded from the numerator and the denominator in
determining whether the approval of Holders of at least sixty-six and two-thirds percent (66 %) of the Preference
Shares or Holders of sixty-six and two-thirds percent (66 %) in Aggregate Outstanding Amount of any Class of
Notes has been obtained under this subsection (e), except that for purposes of appointing or approving (or objecting
to) a successor Collateral Manager that is not an Affiliate of the Collateral Manager, the Notes and Preference
Shares which are Collateral Manager Securities shall be included in determining whether the Preference Shares or
the Notes have selected or approved (or objected to) such successor Collateral Manager.          In the event that a



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successor
        totheCollateral
                     Managerisnotappointed
                                         within90daysafteritsresignation
                                                                      orremoval,
                                                                               theIssuerorthe
Collateral
        Managermaypetitionacourttoappoint
                                        asuccessor,
                                                  withoutobtainingtheapproval
                                                                           oftheHoldersofthe
NotesandthePreference
                    Shares.

                          Section 14.3 Notices, etc., to Trustee, the Issuers, the Bank, the Collateral Manager, the
                                       Rating Agencies, the Interest Rate Swap Counterparty, the Preference
                                       Share Paying Agent or Preference Share Transfer Agent, the First
                                       Synthetic Security Counterpart.       and the Initial Investment   Agreement
                                       Provider.

        Any request, demand, authorization, direction, notice, consent, waiver or Act of Securityholders       or other
documents provided or permitted by this Indenture to be made upon, given or furnished to, or filed with:

                   (a)      (i) the Trustee by any Securityholder or by the Issuer or the Co-Issuer shall be sufficient
         for every purpose hereunder if made, given, furnished or filed in writing to and mailed, by certified mail,
         return receipt requested, hand delivered, sent by overnight courier service guaranteeing next day delivery or
         by telecopy in legible form, to the Trustee addressed to it at its Corporate Trust Office, or at any other
         address previously furnished in writing to the Issuers or such Securityholder by the Trustee or (ii) the Note
         Registrar and the Bank as Paying Agent and Transfer Agent by any Securityholder or by the Issuer or the
         Co-Issuer shall be sufficient for every purpose hereunder if made, given, furnished or filed in writing and
         mailed, by certified mail, return receipt requested, hand delivered, sent by overnight courier service
         guaranteeing next day delivery or by telecopy in legible form, to the Bank addressed to at its Registrar
         Office, or at any other address previously furnished in writing to the Issuers or such Securityholder by the
         Bank;

                  (b)      the Issuer by the Trustee, the Co-Issuer or by any Securityholder shall be sufficient for
         every purpose hereunder (unless otherwise herein expressly provided) if in writing and mailed, first class
         postage prepaid, hand delivered, sent by overnight courier service or by telecopy in legible form, to. the
         Issuer addressed to it at c/o Maples Finance Limited, P.O. Box 1093GT, Queensgate House, South Church
         Street, George Town, Grand Cayman, Cayman Islands, Attention: the Directors, telecopy no. (345) 945-
         7100, with a copy to Maples and Calder, P.O. Box 309GT, Ugland House, South Church Street, George
         Town, Grand Cayman, Cayman Islands, Attention: Dale Crowley, telecopy no. (345) 949-8080, or at any
         other address previously furnished in writing to the Trustee by the Issuer;

                    (c)      the Co-Issuer by the Trustee, the Issuer or by any Noteholder shall be sufficient for every
          purpose hereunder (unless otherwise herein expressly provided) if in writing and mailed, first class postage
          prepaid, hand delivered, sent by overnight courier service or by telecopy in legible form, to the Co-Issuer
          addressed to it at c/o Puglisi & Associates, 850 Library Avenue, Suite 204, Newark, Delaware 19711,
          Attention: Don Puglisi, telecopy no. (302) 738-6680, or at any other address previously furnished in
          writing to the Trustee by the Co-Issuer (in each case with a copy to the Issuer);

                   (d)       the Collateral Manager by the Issuers or the Trustee shall be sufficient for every purpose
          hereunder if in writing and mailed, first class postage prepaid, hand delivered, sent by overnight courier
          service or by telecopy in legible form, to the Collateral Manager addressed to HBK Investments L.P., 300
          Crescent Court Suite 700, Dallas, Texas 75201, Attention: Legal Department, telecopy no. (214) 758-6107,
          or at any other address previously furnished in writing to the Issuers or the Trustee by the Collateral
          Manager;

                    (e)      the Rating Agencies by the Issuers, the Collateral Manager or the Trustee shall be
          sufficient for every purpose hereunder (unless otherwise herein expressly provided) if in writing and
          mailed, first class postage prepaid, hand delivered, sent by overnight courier service or by telecopy or
          electronic mail in legible form, (i) in the case of Standard & Poor's, a division of the McGraw-Hill
          Companies, addressed to Standard & Poor's, 55 Water Street, 41 st Floor, New York, New York 10041,
          telecopy no. (212) 438-2664, Attention: Structured Finance Ratings, Asset-Backed Securities CBO/CLO
          Surveillance, and by e-mail at: CDO_Surveillance@standardandpoors.com     and (ii) in the case of Moody's,



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          addressed
                  toMoody's
                          Investors
                                 Service,
                                       Inc.,99Church
                                                   Street,
                                                        NewYork,NewYork,10007,telecopy
                                                                                     no.
          (212)553-0355,
                      Attention:
                              CBO/CLO Monitoring
                                               andbye-mailat:cdomonitoring@moodys.com;

                  (f)       theInterest
                                      RateSwapCounterparty     bytheIssuers,   theCollateral Manager   ortheTrustee
          shallbesufficientforeverypurpose    hereunder  (unless otherwise hereinexpressly    provided)  if in writing
          andmailed,  firstclasspostage
                                      prepaid, handdelivered   orsentbyovernight    courierservice  orbytelecopy    in
          legibleformtotheInterest  RateSwapCounterparty      addressed  toit attheaddress   specified in theInterest
          RateSwap  Agreement or at any other address previously furnished in writing to the Issuer or the Trustee by
          the Interest Rate Swap Counterparty;

                   (g)      the Preference Share Paying Agent or Preference Share Transfer Agent by any
          Securityholder or by the Issuer shall be sufficient for every purpose hereunder if made, given, furnished or
          filed in writing and mailed, by certified mail, return receipt requested, hand delivered, sent by overnight
          courier service guaranteeing next day delivery or by telecopy in legible form, to Deutsche Bank Trust
          Company Americas, 1761 East St. Andrew Place, Santa Ana, California 92705, Attention: Gemstone CDO
          VI Ltd., telecopy no. (714) 247-6483, or at any other address previously furnished in writing to the Issuer
          or such Securityholder;

                    (h)      the First Synthetic Security Counterparty by the Issuers, the Collateral Manager or the
          Trustee shall be sufficient for every purpose hereunder (unless otherwise herein expressly provided) if in
          writing and mailed, first class postage prepaid, hand delivered or sent by overnight courier service or by
          telecopy in legible form to the First Synthetic Security Counterparty addressed to it at the address specified
          in the related Synthetic Security or at any other address previously furnished in writing to the Issuer or the
          Trustee by the First Synthetic Security Counterparty; or

                     (i)      the Initial Investment Agreement Provider by the Issuers, the Collateral Manager or the
          Trustee shall be sufficient for every purpose hereunder (unless otherwise herein expressly provided) if in
          writing and mailed, first class postage prepaid, hand delivered or sent by overnight courier service or by
          telecopy in legible form, to the Initial Investment Agreement Provider addressed to Rabobank International,
          245 Park Avenue, New York, New York 10167, Attention: Financial Administration Department, telecopy
          no (212) 916-3740, or at any other address previously furnished in writing to the Issuer or the Trustee by
          the Initial Investment Agreement Provider.

          Delivery of any request, demand, authorization, direction, notice, consent, waiver or Act of Securityholders
or other documents made as provided above will be deemed effective: (i) if in writing and delivered in person or by
overnight courier service, on the date it is delivered; (ii) if sent by facsimile transmission, on the date that
transmission is received by the recipient in legible form (as evidenced by the sender's written record of a telephone
call to the recipient in which the recipient acknowledged receipt of such facsimile transmission); and (iii) if sent by
mail, on the date that mail is delivered or its delivery is attempted; in each case, unless the date of that delivery (or
attempted delivery) or that receipt, as applicable, is not a Business Day or that communication is delivered (or
attempted) or received, as applicable, after the close of business on a Business Day, in which case that
communication shall be deemed given and effective on the first following day that is a Business Day.

                           Section 14.4 Notices and Reports    to Securityholders;   Waiver.

          Except as otherwise expressly provided herein, where this Indenture provides for a report to Holders or for
a notice to Holders of Securities of any event,

                    (a)      such report or notice shall be sufficiently given to Holders of Securities if in writing and
          mailed, first class postage prepaid, to each Holder of a Security affected by such event, at the address of
          such Holder as it appears in the Note Register not earlier than the earliest date and not later than the latest
          date, prescribed for the giving of such report or notice; and

                     (b)       such report or notice shall be in the English language.




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         Suchreports
                   andnotices
                            will bedeemed
                                       tohavebeengivenonthedateofsuchmailing.

       TheTrusteewill delivertotheHolderof anySecurityshownontheNoteRegister  anynoticeor report
requested
        tobesodelivered,
                       attheexpense oftheIssuer.In addition,
                                                          forsolongasanyClassofNotesislistedon
theExchange,andsolongastherulesoftheExchange  sorequire,notices
                                                              totheholdersoftheNotesshallalsobe
delivered
        bytheTrustee
                   totheCompany   AnnouncementsOfficeoftheExchange.
       Neitherthefailuretomailanynotice,noranydefectin anynoticesomailed,toanyparticular
                                                                                      Holderof a
Security
       shallaffectthesufficiency
                              ofsuchnoticewithrespect
                                                    tootherHoldersofSecurities.

       WherethisIndenture  providesfor noticein anymanner, suchnoticemaybewaivedin writingby any
Personentitledtoreceivesuchnotice,eitherbeforeor aftertheevent,andsuchwaivershallbetheequivalentof
suchnotice.Waivers  of noticeby SecurityholdersshallbefiledwiththeTrusteebutsuchfiling shallnotbea
condition
        precedenttothevalidityofanyactiontakeninreliance uponsuchwaiver.

       In theeventthat,by reason    of thesuspensionof theregularmailserviceasa resultof a strike,work
stoppageorsimilaractivity,it shallbeimpractical
                                             tomailnoticeofanyeventtoSecurityholders
                                                                                   whensuchnoticeis
required
       tobegivenpursuant     toanyprovisionofthisIndenture,thenanymannerof givingsuchnoticeasshallbe
satisfactory
          totheTrusteeshallbedeemed     tobeasufficient
                                                     givingofsuchnotice.

                          Section 14.5 Effect of Headings and Table of Contents.

          The Section headings herein and the Table of Contents are for convenience         only and shall not affect the
construction hereof.

                          Section 14.6 Successors and Assigns.

         All covenants and agreements        in this Indenture by the Issuers shall bind their respective successors and
assigns, whether so expressed or not.

                          Section 14.7 Severability.

          In case any provision in this Indenture or in the Notes shall be invalid, illegal or unenforceable, the validity,
legality, and enforceability of the remaining provisions shall not in any way be affected or impaired thereby.

                          Section 14.8 Benefits of Indenture.

          The Interest Rate Swap Counterparty, and its successors and assigns shall be a third party beneficiary of
each agreement or obligation in this Indenture relating to the rights of the Interest Rate Swap Counterparty
hereunder. Each Preference Shareholder and the Preference Share Paying Agent, on the Preference Shareholders'
behalf, shall be a third party beneficiary of each agreement or obligation in this Indenture relating to payments to be
made by the Issuer to the Preference Shareholders or the Preference Share Paying Agent, the rights and obligations
of the Issuer with respect to the Preference Shares, the priority of payments established in Section 11.1 and Article
XIII, the right of Preference Shareholders to consent to supplemental indentures and the rights of Preference
Shareholders to receive reports and notices hereunder or to give other consents, approvals, notices or directions
hereunder. Nothing in this Indenture or in the Securities, expressed or implied, shall give to any Person, other than
the parties hereto and their successors hereunder, the Collateral Manager, the Securityholders and the Interest Rate
Swap Counterparty, any benefit or any legal or equitable right, remedy or claim under this Indenture.

                          Section 14.9 Legal Holidays.

        In the event that the date of any Distribution Date, Stated Maturity, Scheduled Preference Share
Redemption Date or Redemption Date shall not be a Business Day, then notwithstanding any other provision of the
Notes or this Indenture, payment need not be made on such date, but may be made on the next succeeding Business
Day with the same force and effect as if made on the nominal date of any such Distribution Date, Stated Maturity,


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Scheduled PreferenceShareRedemption Dateor RedemptionDate,asthecasemaybe,and,in thecaseof a
Distribution
           Date,anyinterest
                          (inthecaseoftheNotes)accrued
                                                     fortheperiodfromor afteranysuchnominal
                                                                                          date
to thenextsucceedingBusinessDayshallnotbepayable onsuchBusinessDaybutshallbepayable  onthenext
followingDistribution
                    Date.

                          Section 14.10   Governing Law.

       THIS INDENTURE  AND EACH NOTE SHALL BE CONSTRUED                             IN ACCORDANCE    WITH AND
GOVERNED    BY THE LAW OF THE STATE OF NEW YORK WITHOUT                            REFERENCE  TO ITS CONFLICT
OF LAWS RULES (OTHER THAN SECTION 5-1401 OF THE GENERAL         OBLIGATIONS  LAW), AND THE
OBLIGATIONS,   RIGHTS AND REMEDIES    OF THE PARTIES HEREUNDER     SHALL BE DETERMINED    IN
ACCORDANCE     WITH    SUCH LAWS.   THE STATE    OF NEW YORK     SHALL   BE THE SECURITIES
INTERMEDIARY'S    JURISDICTION OF THE SECURITIES   INTERMEDIARY   FOR PURPOSES  OF ARTICLE
8 OF THE UCC AND THE UNITED STATES REGULATIONS.

                          Section 14.11   Submission to Jurisdiction.

          The Issuers hereby irrevocably submit to the non-exclusive jurisdiction of any New York State or Federal
court sitting in the Borough of Manhattan in The City of New York in any action or proceeding arising out of or
relating to the Securities or this Indenture, and the Issuers hereby irrevocably agree that all claims in respect of such
action or proceeding may be heard and determined in any such New York State or Federal court. The Issuers hereby
irrevocably waive, to the fullest extent that they may legally do so, the defense of an inconvenient forum to the
maintenance of such action or proceeding. The Issuers irrevocably consent to the service of any and all process in
any action or proceeding by the mailing or delivery of copies of such process to it at the office of the Issuer's agent
in New York set forth in Section 7.2. The Issuers agree that a final judgment in any such action or proceeding shall
be conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other manner provided by
law.

                          Section 14.12   Counterparts.

        This instrument may be executed in any number of counterparts, each of which so executed shall be
deemed to be an original, but all such counterparts shall together constitute but one and the same instrument.

                          Section 14.13   Judgment Currency.

          This is an international financing transaction in which the specification of Dollars (the "Specified
Currency"), and the specification of the place of payment, as the case may be (the "Specified Place"), is of the
essence, and the Specified Currency shall be the currency of account in all events relating to payments of or on the
Securities. The payment obligations of the Issuers under this Indenture and the Securities shall not be discharged by
an amount paid in another currency or in another place, whether pursuant to a judgment or otherwise, to the extent
that the amount so paid on conversion to the Specified Currency and transfer to the Specified Place under normal
banking procedures does not yield the amount of the Specified Currency at the Specified Place. If for the purpose of
obtaining judgment in any court it is necessary to convert a sum due hereunder or the Securities in the Specified
Currency into another currency (the "Second Currency"), the rate of exchange which shall be applied shall be that at
which in accordance with normal banking procedures the Trustee could purchase the Specified Currency with the
Second Currency on the Business Day next preceding that on which such judgment is rendered. The obligation of
the Issuers in respect of any such sum due from the Issuers hereunder shall, notwithstanding the rate of exchange
actually applied in rendering such judgment, be discharged only to the extent that on the Business Day following
receipt by the Trustee of any sum adjudged to be due hereunder or under the Securities in the Second Currency the
Trustee may in accordance with normal banking procedures purchase and transfer to the Specified Place the
Specified Currency with the amount of the Second Currency so adjudged to be due; and the Issuers hereby, as a
separate obligation and notwithstanding any such judgment (but subject to the Priority of Payments as if such
separate obligation in respect of each Class of Notes or Preference Shares constituted additional principal owing in
respect of such Class of Notes or Preference Shares), agree to indemnify the Trustee and each Securityholder
against, and to pay the Trustee or such Securityholder, as the case may be, on demand in the Specified Currency,



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anydifference
            betweenthesumoriginallydueto theTrustee
                                                  or suchSecurityholder,
                                                                     asthecasemaybe,in the
Specified
        Currency
               andtheamount
                          oftheSpecified Currency
                                                sopurchased
                                                          andtransferred.
                          Section 14.14   Liability of Issuers.

           Notwithstanding any other term of this Indenture, the Notes or any other agreement entered into between,
inter alia, the Issuer or the Co-Issuer, neither of the Issuers shall have any liability whatsoever to the other under this
Indenture, the Notes, any such agreement or otherwise and, without prejudice to the generality of the foregoing,
neither the Issuer nor the Co-Issuer shall be entitled to take any steps to enforce, or bring any action or proceeding,
in respect of this Indenture, the Notes, any such agreement or otherwise against the other. In particular, neither the
Issuer nor the Co-Issuer shall be entitled to petition or take any other steps for the winding up or bankruptcy of the'
other or shall have any claim in respect of any assets of the other. This Section 14.14 shall survive the termination
of this Agreement.

                                                     ARTICLE XV

    ASSIGNMENT OF MANAGEMENT AGREEMENT, THE COLLATERAL    ADMINISTRATION
  AGREEMENT, THE INTEREST RATE SWAP AGREEMENT, THE SYNTHETIC SECURITIES AND
                       THE INITIAL INVESTMENT AGREEMENT

                          Section 15.1 Assignment.

          (a)       As set forth in the Granting Clauses, the Issuer has Granted to the Trustee, for the benefit of the
Secured Parties, all of the Issuer's right, title and interest in, to and under the Management Agreement, the Collateral
Administration Agreement, the Synthetic Securities, the Investment Agreement and the Interest Rate Swap
Agreement, including (i) the right to give all notices, consents and releases thereunder, (ii) the right to give all
notices of termination and to take any legal action upon the breach of an obligation of the Collateral Manager under
the Collateral Administration Agreement and the Management Agreement, each Synthetic Security Counterparty
under the related Synthetic Security, the Initial Investment Agreement Provider or any Replacement Investment
Agreement Provider, as applicable, under the Investment Agreement, or the Interest Rate Swap Counterparty under
the Interest Rate Swap Agreement, including the commencement, conduct and consummation of proceedings at law
or in equity, (iii) the right to receive all notices, accountings, consents, releases and statements thereunder and (iv)
the right to do any and all other things whatsoever that the Issuer is or may be entitled to do thereunder; provided
that the Trustee hereby grants the Issuer a license to exercise all of the Issuer's rights pursuant to the Management
Agreement, Collateral Administration Agreement, the Synthetic Securities, the Investment Agreement and Interest
Rate Swap Agreement without notice to or the consent of the Trustee (except as otherwise expressly required by this
Indenture, including as set forth in Section 15.4), which license shall be and is hereby deemed to be automatically
revoked (A) upon the occurrence of an Event of Default hereunder until such time, if any, as such Event of Default
is cured or waived, (B) with respect to the Management Agreement, the termination of the Collateral Manager
pursuant to Section 13 of the Management Agreement or (C) upon a material default in the performance, or breach,
of any covenant, representation, warranty or other agreement of the Issuer under the Indenture or in any certificate
or writing delivered pursuant thereto or made in connection therewith which proves to be incorrect in any material
respect when made, if (a) Holders of at least fifty percent (50%) of the Aggregate Outstanding Amount of the Notes
of any Class, Preference Shareholders whose aggregate Voting Percentages are at least fifty percent (50%) of all
Preference Shareholders' voting percentages or the Interest Rate Swap Counterparty gives notice of such default or
breach to the Trustee and the Collateral Manager or (b) the Collateral Manager, the Issuer or the Co-Issuer has
 actual knowledge of such default or breach, and in either case, such default or breach (if remediable) continues for a
period of 30 days.

          (b)      The assignment made under the Granting Clauses is made as collateral security, and the execution
and delivery of this Indenture shall not in any way impair or diminish the obligations of the Issuer under the
provisions of the Management Agreement, the Collateral Administration Agreement, the Synthetic Securities, the
Investment Agreement and the Interest Rate Swap Agreement, and shall not be deemed to transfer to or impose upon
the Trustee, or to constitute an assumption by the Trustee of, any of the obligations, liabilities or duties of the Issuer
thereunder; and unless and until an Event of Default has occurred and is continuing, the Issuer is hereby granted a



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licenseto exerciseits rightsandpowersunderthe Management
                                                      Agreement,
                                                              the CollateralAdministration
Agreement, the Synthetic Securities, the Investment Agreement         and the Interest Rate Swap Agreement, provided
that it does so in accordance with the terms of this Indenture.

          (c)      On the date on which the obligations of the Issuer hereunder are terminated as set forth in Section
4.1 and the Collateral is released from the lien of the Indenture, all rights Granted to the Trustee for the benefit of
the Noteholders shall cease and terminate and all right, title and interest of the Trustee in, to and under the
Management Agreement, the Collateral Administration Agreement, the Synthetic Securities, the Investment
Agreement and the Interest Rate Swap Agreement shall revert to the Issuer, Collateral Manager, Collateral
Administrator, the related Synthetic Security Counterparty, the Initial Investment Agreement Provider or any
Replacement Investment Agreement Provider, as applicable, and Interest Rate Swap Counterparty, respectively, and
no further instrument or act shall be necessary to evidence such termination and reversion.

          (d)      The Issuer agrees that the Grant set forth in the Granting Clauses is irrevocable, and that it will not
take any action that is inconsistent with the Granting Clauses or make any other assignment inconsistent herewith.
The Issuer will, from time to time upon the request of the Trustee, execute all instruments of further assurance and
all such supplemental instruments with respect to this Indenture as the Trustee may reasonably specify.

                          Section 15.2 [Reserved].

                          Section 15.3 [Reserved].

                          Section 15.4 Issuer Agreements_ Etc.

        The Issuer hereby agrees, and hereby undertakes          to obtain the agreement and consent of the Collateral
Manager in the Management Agreement to the following:

                  (a)      the Collateral Manager consents to the provisions of this assignment            and agrees to
         perform any provisions of this Indenture applicable to the Collateral Manager;

                    (b)       the Collateral Manager acknowledges that the Issuer has assigned all of its fight, title and
          interest in, to and under the Management Agreement to the Trustee for the benefit of the Secured Parties,
          and the Collateral Manager agrees that all of the representations, covenants and agreements made by the
          Collateral Manager in the Management Agreement are also for the benefit of the Trustee and the other
          Secured Parties;

                   (c)     the Collateral Manager shall deliver to the Trustee duplicate original copies of all notices,
          statements, communications and instruments delivered or required to be delivered to the Issuer pursuant to
          the Management Agreement;

                    (d)      after the Closing Date, the Issuer will not enter into any agreement amending, modifying
          or terminating the Management Agreement (other than in respect of an amendment or modification of the
          type that may be made to this Indenture without Securityholder consent or a termination by the Collateral
          Manager permitted by Section 13 of the Management Agreement) or selecting or consenting to a successor
          Collateral Manager, (i) without 10 days' prior written notice to each Rating Agency and the Interest Rate
          Swap Counterparty, (ii) without 10 days' prior written notice thereof to the Trustee, which notice shall
          specify the action proposed to be taken by the Issuer (and the Trustee shall promptly deliver a copy of such
          notice to each Securityholder), (iii) without satisfaction of the Rating Condition with respect to such
          amendment, modification, termination or selection of or consent to a successor Collateral Manager and (iv)
          in the case of any amendment, modification or termination other than pursuant to Section 13(a) of the
          Management Agreement, or the selection of or consent to a successor Collateral Manager (other than a
          successor Collateral Manager that is an Affiliate of the Collateral Manager), if Holders of at least sixty-six
          and two-thirds percent (66 %) of the Preference Shares (excluding Collateral Manager Securities) or the
          Interest Rate Swap Counterparty shall, by notice to the Issuer, the Collateral Manager and the Trustee




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         within30daysafterthedateof therelatednoticeto theTrusteegivenasprovided
                                                                               in clause(ii) above,
         objecttosuchamendment,
                              modificationorterminationorobjecttosuchsuccessor
                                                                            Collateral
                                                                                     Manager;

               (e)  exceptasotherwise  setforthhereinandtherein(including    pursuant  toSection 13(a)of
         theManagement
                   Agreement),theCollateral  Manager  shallcontinue  toserveasCollateral   Manager under
         theManagement
                   Agreement notwithstanding that the Collateral Manager shall not have received amounts
         due it under the Management Agreement because sufficient funds were not then available hereunder to pay
         such amounts. The Collateral Manager agrees not to institute against, or join any other Person in instituting
         against, the Issuer or Co-Issuer any bankruptcy, reorganization, arrangement, insolvency, moratorium or
         liquidation proceedings or other proceedings under any bankruptcy, insolvency, reorganization or similar
         laws until at least one year and one day, or if longer the applicable preference period then in effect, after the
         payment in full of all Notes issued under this Indenture; provided that nothing in this clause shall preclude,
         or be deemed to stop, the Collateral Manager from taking any action prior to the expiration of the
         aforementioned one year and one day period, or if longer the applicable preference period then in effect, in
         (x) any case or proceeding voluntarily filed or commenced by the Issuer or the Co-Issuer, or (y) any
         involuntary insolvency proceeding filed or commenced against the Issuer or the Co-Issuer by a Person
         other than the Collateral Manager or its Affiliates, provided that the obligations of the Issuers hereunder
         shall be payable solely from the Collateral in accordance with the Priority of Payments;

                    (f)      the Collateral Manager and the Issuer shall consult with the Trustee with respect to any
         material adverse or potentially adverse material interest or other material conflict of the Collateral Manager
         or the Issuer, or any of its Affiliates, relating to any action to be taken with respect to any Pledged Security.
         If the Collateral Manager determines that it or any of its Affiliates have a material conflict of interest
         between the Securityholders and any other account or portfolio for which the Collateral Manager or any of
         its Affiliates is serving as investment adviser which relates to any action to be taken with respect to any
         Pledged Security and that such conflict of interest was not of a type disclosed in the Note Offering Circular,
         then the Collateral Manager will give written notice to the Issuer briefly describing such conflict and the
          action it proposes to take. The Collateral Manager will perform its obligations with respect to any such
         conflict with the care, skill, prudence and diligence that a prudent person acting in a like capacity and
          familiar with such matters would use in the resolution of such conflict; and

                   (g)     the Collateral Manager irrevocably submits to the non-exclusive jurisdiction of any New
         York State or Federal court sitting in the Borough of Manhattan in The City of New York in any action or
         proceeding arising out of or relating to the Securities or this Indenture, and the Collateral Manager
         irrevocably agrees that all claims in respect of such action or proceeding may be heard and determined in
         any such New York State or Federal court. The Collateral Manager irrevocably waives, to the fullest extent
         it may legally do so, the defense of an inconvenient forum to the maintenance of such action or proceeding.
         The Collateral Manager irrevocably consents to the service of any and all process in any action or
         proceeding by the mailing or delivery of copies of such process to it at the office of the Collateral Manager
         in New York, New York, or, if no such office is then maintained, at the office of CT Corporation System,
          111 Eighth Avenue, New York, New York 10011. The Collateral Manager agrees that a final judgment in
         any such action or proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the
         judgment or in any other manner provided by law.

                                                    ARTICLE      XVI

                                      INTEREST RATE SWAP AGREEMENT

                          Section 16.1 The Interest Rate Swap Agreement.

          (a)     On the Closing Date (or any date on which the Issuer enters into a replacement Interest Rate Swap
Agreement or an Additional Interest Rate Swap Agreement), (i) the Interest Rate Swap Counterparty (or any
Affiliate of the Interest Rate Swap Counterparty that shall have absolutely and unconditionally guaranteed the
obligations of such Interest Rate Swap Counterparty under the Interest Rate Swap Agreement) shall satisfy the
Interest Rate Swap Counterparty Ratings Requirement and (ii) the Issuer shall Grant the Interest Rate Swap



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Agreement to the Trustee pursuant to this Indenture. If after the Closing Date, the Interest Rate Swap Counterparty
fails to satisfy the Interest Rate Swap Counterparty Ratings Requirement, a Responsible Officer of the Trustee upon
receipt of notice of such event, shall provide notice of such event (which may include forwarding any notice
received by the Trustee) to the Rating Agencies.

         (b)      The Trustee shall, on behalf of the Issuer and in accordance with the Note Valuation Report, pay
amounts due to the Interest Rate Swap Counterpart), under the Interest Rate Swap Agreement on any Distribution
Date in accordance with Section 11.1.

          (c)       Subject to the terms hereof, the Trustee, as directed by the Issuer, shall take all reasonable steps
necessary to enforce the Issuer's rights under the Interest Rate Swap Agreement, including receiving payments from
the Interest Rate Swap Counterparty when due and exercising the Issuer's rights under the Interest Rate Swap
Agreement including, without limitation, the Issuer's right to terminate the Agreement if on any date such Interest
Rate Swap Counterparty fails to satisfy the Interest Rate Swap Counterparty Ratings Requirement as the Trustee is
notified in writing, within:

                   (i)      30 days of such failure to satisfy the Interest Rate Swap Counterparty Ratings
          Requirement the Interest Rate Swap Counterparty having to, at its sole option and expense take one of the
          actions described under (w), (x), (y) and (z) below, or

                    (ii)     10 days of such failure to satisfy the Interest Rate Swap Counterparty Ratings
          Requirement and (A) the unsecured, unguaranteed and otherwise unsupported short term debt obligations
          of the Interest Rate Swap Counterparty are rated below "A-3" by Standard & Poor's (if the Interest Rate
          Swap Counterparty has a short-term rating from Standard & Poor's) or if the Interest Rate Swap
          Counterparty does not have a short-term rating from Standard & Poor's, the unsecured, unguaranteed and
          otherwise unsupported long term senior debt obligations of the Interest Rate Swap Counterparty are rated
          below "BBB-" by Standard & Poor's or (B) either the unsecured, unguaranteed and otherwise unsupported
          long-term senior debt obligations of Interest Rate Swap Counterparty are rated "A2" or below by Moody's
          and no short-term rating is available from Moody's, or the unsecured, unguaranteed and otherwise
          unsupported long-term senior debt obligations of Interest Rate Swap Counterparty are rated "A3" or below
          by Moody's and the unsecured, unguaranteed and unsecured, unguaranteed and otherwise unsupported
          short-term debt obligations of Interest Rate Swap Counterparty are rated "P-2" or below by Moody's, the
          Interest Rate Swap Counterparty having to, at its sole expense take the action described under (x) below:

                              (w)      post collateral to secure the Interest Rate Swap Counterparty's obligations under
                    the Interest Rate Swap Agreement (but solely with respect to the Interest Rate Swap Agreement)
                    in a form and amount acceptable to the Issuer and that satisfies the Rating Condition; provided
                    that posting under this subclause (w) shall no longer be required upon the occurrence of (A) a
                    Termination Date (as defined in related Interest Rate Swap Transaction), (B) the Interest Rate
                    Swap Counterparty having no further payment obligations under the Interest Rate Swap
                    Transactions or (C) the Issuer being a Defaulting Party or Affected Party thereunder; provided that
                    the Interest Rate Swap Counterparty (other than the initial Interest Rate Swap Counterparty) shall,
                    in addition to posting collateral as required in this clause (w), obtain or provide a legal opinion
                    addressed to the Issuer and the Trustee to the effect that the collateral will be available to the
                    Trustee and the Noteholders in the event of the insolvency of such Interest Rate Swap
                    Counterparty;

                              (x)     assign or transfer all of its rights and obligations under the Interest Rate Swap
                    Agreement (but solely with respect to the Interest Rate Swap Agreement) to a Replacement
                    Interest Rate Swap Counterparty (and provide the Rating Agencies with notice of such assignment
                    or transfer);

                             (y)     cause an entity that satisfies the Interest Rate Swap Counterparty Ratings
                    Requirement to issue in favor of the Issuer a credit support of the Interest Rate Swap
                    Counterparty's obligations the Interest Rate Swap Agreement (but solely with respect to the



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                    Interest Rate Swap Agreement)   acceptable in form and substance to the Issuer and that satisfies
                    the Rating Condition; or

                           (z)       take other steps as each Rating Agency that has downgraded       the Interest Rate
                    Swap Counterparty may require to satisfy the Rating Condition.

           (d)     If at any time an Interest Rate Swap Agreement becomes subject to early termination due to the
occurrence of an Event of Default or a Termination Event (each as defined in the Interest Rate Swap Agreement)
where the Interest Rate Swap Counterparty is the Defaulting Party or the Affected Party, the Issuer and the Trustee
shall take such actions (following the expiration of any applicable grace period) to enforce the rights of the Issuer
and the Trustee thereunder and under any related Collateral Agreement (as defined in the Interest Rate Swap
Agreement) as may be permitted by the terms of the Interest Rate Swap Agreement and consistent with the terms
hereof, and shall apply the proceeds of any such actions (including the proceeds of the liquidation of any collateral
pledged by such Interest Rate Swap Counterparty) to enter into a replacement Interest Rate Swap Agreement. The
Collateral Manager shall, on behalf of the Issuer, arrange for the Issuer to enter into a replacement Interest Rate
Swap Agreement after the early termination of such Interest Rate Swap Agreement as a result of either a termination
event for which the Interest Rate Swap Counterparty is the sole Affected Party or an event of default under the
Interest Rate Swap Agreement where the Interest Rate Swap Counterparty is the Defaulting Party, unless the Rating
Condition is satisfied with respect to the failure to enter into a replacement Interest Rate Swap Agreement. The
replacement Interest Rate Swap Agreement shall be on substantially the same terms and conditions as the terminated
Interest Rate Swap Agreement (except to the extent that the Issuer (with the advice of the Collateral Manager)
determines that any such term or condition either is not reasonably available in the market or could result in a
reduction or withdrawal in the rating of any Class of the Notes, in which event the Rating Condition shall have been
satisfied with respect to any change in the terms and conditions), and shall be a replacement Interest Rate Swap
Agreement and with an Interest Rate Swap Counterparty with respect to which the Rating Condition shall have been
satisfied. Any costs attributable to entering into a replacement Interest Rate Swap Agreement which exceed the sum
of the proceeds (if any) of the liquidation of the terminated Interest Rate Swap Agreement that are not otherwise
paid by the defaulting Interest Rate Swap Counterparty shall constitute expenses payable under Section
11. l(a)(i)(S). Any excess proceeds of the liquidation of the Interest Rate Swap Agreement remaining after all costs
attributable to entering into a replacement Interest Rate Swap Agreement shall constitute Principal Proceeds and
shall be deposited into the Principal Collection Account. In addition, the Issuer will use its best efforts to cause the
termination of the Interest Rate Swap Agreement to become effective simultaneously with the entry into a
replacement Interest Rate Swap Agreement described as aforesaid.

          (e)     The Interest Rate Swap Agreement will be governed by, and construed in accordance with, the
laws of the State of New York and documented in accordance with the forms adopted by the International Swaps
and Derivatives Association, Inc. The Interest Rate Swap Agreement shall provide that any amount payable to the
Interest Rate Swap Counterparty thereunder shall be subject to the Priority of Payments and that any amount payable
upon the early termination or liquidation thereof shall be payable only on a Distribution Date in accordance with the
Priority of Payments. The Interest Rate Swap Agreement shall contain appropriate limited recourse and non-petition
provisions (to the extent the Issuer has contractual payment or other obligations to the Interest Rate Swap
Counterparty with respect thereto) equivalent (mutatis mutandis) to those contained in this Indenture.

          (f)     As of the Closing Date, the Issuer may not enter into the Interest Rate Swap Agreement with the
Interest Rate Swap Counterparty other than the Person named in the definition of Interest Rate Swap Counterparty,
and the Issuer shall not enter into any Additional Interest Rate Swap Agreement except (i) with the consent of the
Collateral Manager and the Initial Interest Rate Swap Counterparty and (ii) in compliance with the Rating
Condition. In addition, the Issuer shall not agree, without satisfaction of the Rating Condition, to any amendment,
modification, or waiver of any provision of any Interest Rate Swap Agreement.

          (g)     The Issuer (or the Collateral Manager on its behalf) shall use all reasonable efforts to provide the
Interest Rate Swap Counterparty with ten Business Days' prior written notice of any Collateral Imbalance Date.

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         IN WITNESS               WHEREOF,        we have set our hands   or, in the case of the Issuer,       executed   this Indenture   as a deed as
of the day and year first above        wrirten,

                                                                            Executed as a deed by


                                                                            GEMSTONE CDO VI LTD.,
                                                                               as Issuer



                                                                            By:
                                                                                   Name:
                                                                                   Title: Director



                                                                            In the presence of:
                                                                                                                      Witness



                                                                             GEMSTONE CDO VI CORP,,
                                                                                as Co-Issuer



                                                                             By:
                                                                                   Name:
                                                                                   Title: President



                                                                             DEUTSCHE             BANK    TRUST   COMPANY         AMERICAS,




                                                                             By:       _vy,.Jl_')k-__
                                                                                   Name:       VStephen        T. Messier
                                                                                   Title:          --    Vice President


                                                                             By:
                                                                                   Name:
                                                                                   Title:
                                                                                                          Assistant    Vice President


                                                                             DEUTSCHE             BANK    TRUST    CO_IPANY       AMERICAS,


                                                                                   as Se-c_fl
                                                                             By:            __"

                                                                                   Name' •          _te p h en T- Hessler
                                                                                   Title:              Vice Preside


                                                                             By:
                                                                                   Name:
                                                                                   Title:                      1aged Mecheal
                                                                                                         Assistant Vice President




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         12,;WITNESS WHEREOF, we have set our hands or, in the case of the Issuer, executed this Indenture as a deed as
of the day and year first above written.

                                                           Executed as a deed by


                                                           GEMSTONE CDO VI LTD.,
                                                              as Issuer


                                                           By:
                                                                 Name:
                                                                 Title: Director



                                                           In the presence of.'
                                                                                         Witness


                                                           GEMSTONE CDO Vl CORP,,
                                                              as Co-Issuer



                                                           By:
                                                                 Name:     Donald   J_. P_glisi
                                                                 Title: President



                                                           DEUTSCHE BANK TRUST COMPANY AMERICAS,
                                                              asTrustee



                                                           By:
                                                                 Name:
                                                                 Title:



                                                           By:
                                                                 Name:
                                                                 Title:



                                                           DEUTSCHE BANK TRUST COMPANY AMERICAS,
                                                              as Securities Intermediary



                                                           By:
                                                                 Name:
                                                                 Title:



                                                           By:
                                                                 Name:
                                                                 Title:




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          IN 'WITNESS WHEREOF, we have set our hands or, in the case of the Issuer, executed this Indenture   as a deed as
of the day a'r.d year first above written.

                                                            Executed as a deed by


                                                            GEMSTONE CDO VI LTD.,
                                                               as Issuer


                                                            By:
                                                                  Name:
                                                                  ......
                                                                   I. 1UC:
                                                                                Carlos Farjallah
                                                                             Lll,rec[or




                                                            In the presence of:




                                                            GEMSTONE CDO VI CORP,,
                                                               as Co-Issuer



                                                            By:
                                                                  Name:
                                                                  Title: President



                                                            DEUTSCHE BANK TRUST COMPANY AMERICAS,
                                                               as Trustee



                                                            By:
                                                                  Name:
                                                                  Title:



                                                            By:
                                                                  Name:
                                                                  Title:



                                                            DEUTSCHE BANK TRUST COMPANY AMERICAS,
                                                               as Securities Intermediary


                                                            By:
                                                                  Name:
                                                                  Title:



                                                            By:
                                                                  Name:
                                                                  Title:




    Gemstor,e   Vl_lndenture
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                                         SCHEDULE A

                            SCHEDULE OF CLOSING UNDERLYING   ASSETS




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                                                    SCHEDULE     B

                                                 LIBOR   FORMULA


         With respect to each Interest Period, "LIBOR" for purposes of calculating the Note Interest Rate for each
Class of Notes for such Interest Period will be determined by the Calculation Agent in accordance with the
following provisions:

                  (i)     LIBOR for any Interest Period shall equal the offered rate, as determined by the
        Calculation Agent, for Dollar deposits of the Designated Maturity which appears on Telerate Page 3750 (or
        such other page as may replace such Telerate Page 3750 for the purpose of displaying comparable rates), as
        reported by Bloomberg Financial Markets Commodities News, as of 11:00 a.m. (London time) onthe
        applicable LIBOR Determination Date. "LIBOR Determination Date" means, with respect to any Interest
        Period, the second London Banking Day prior to the first day of such Interest Period.

                  (ii)     If, on any LIBOR Determination Date, such rate does not appear on Telerate Page 3750
        (or such other page as may replace such Telerate Page 3750 for the purpose of displaying comparable
        rates), as reported by Bloomberg Financial Markets Commodities News, the Calculation Agent shall
        determine the arithmetic mean of the offered quotations of the Reference Banks to prime banks in the
        London interbank market for Dollar deposits of three months (except that in the case where such Interest
        Period shall commence on a day that is not a LIBOR Business Day, for a term of three months
        commencing on the next following LIBOR Business Day), by reference to requests for quotations as of
        approximately 11:00 a.m. (London time) on such LIBOR Determination Date made by the Calculation
        Agent to the Reference Banks. If, on any LIBOR Determination Date, at least two of the Reference Banks
        provide such quotations, LIBOR shall equal such arithmetic mean. If, on any LIBOR Determination Date,
        fewer than two Reference Banks provide such quotations, LIBOR shall be deemed to be the arithmetic
        mean of the offered quotations that leading banks in New York City selected by the Calculation Agent
        (after consultation with the Collateral Manager) are quoting on the relevant LIBOR Determination Date for
        Dollar deposits for the term of such Interest Period (except that in the case where such Interest Period shall
        commence on a day that is not a LIBOR Business Day, for a term of three months commencing on the next
        following LIBOR Business Day), to the principal London offices of leading banks in the London interbank
        market.

                  (iii)    In respect of any Interest Period having a designated maturity other than three months,
        LIBOR shall be determined through the use of straight-line interpolation by reference to two rates
        calculated in accordance with clauses (i) and (ii) above, one of which shall be determined as if the maturity
        of the Dollar deposits referred to therein were the period of time for which rates are available next shorter
        than the Interest Period and the other of which shall be determined as if such maturity were the period of
        time for which rates are available next longer than the Interest Period; provided that, if an Interest Period is
        less than or equal to seven days, then LIBOR shall be determined by reference to a rate calculated in
        accordance with clauses (i) and (ii) above as if the maturity of the Dollar deposits referred to therein were a
        period of time equal to seven days.

                   (iv)     If the Calculation Agent is required but is unable to determine a rate in accordance with
         either of the procedures described in clauses (i) or (ii) above, LIBOR with respect to such Interest Period
         shall be the arithmetic mean of the offered quotations of the Reference Dealers as of 10:00 a.m. (New York
         time) on the first day of such Interest Period for negotiable U.S. Dollar certificates of deposit of major U.S.
         money market banks having a remaining maturity closest to the Designated Maturity.

                  (v)       If the Calculation Agent is required but is unable to determine a rate in accordance with
         any of the procedures described in clauses (i), (ii) or (iv) above, LIBOR with respect to such Interest Period
         will be calculated on the last day of such Interest Period and shall be the arithmetic mean of the Base Rate
         for each day during such Interest Period.




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         For purposes of clauses (i), (iii), (iv) and (v) above, all percentages resulting from such calculations shall be
rounded, if necessary, to the nearest one hundred-thousandth of a percentage point. For the purposes of clause (ii)
above, all percentages resulting from such calculations shall be rounded, if necessary, to the nearest one thirty-
second of a percentage point.

         As used herein:

          "Base Rate" means a fluctuating rate of interest determined by the Calculation Agent as being the rate of
interest most recently announced by the Base Rate Reference Bank at its New York office as its base rate, prime
rate, reference rate or similar rate for Dollar loans. Changes in the Base Rate will take effect simultaneously with
each change in the underlying rate.

          "Base Rate Reference Bank" means Deutsche Bank Trust Company Americas, or if such bank ceases to
exist or is not quoting a base rate, prime rate, reference rate or similar rate for Dollar loans, such other major money
center commercial bank in New York City as is selected by the Calculation Agent after consultation with the
Collateral Manager.

        "LIBOR Business Day" means a day on which commercial banks and foreign exchange markets settle
payments in Dollars in New York and London.

         "London Banking Day" means a day on which commercial                 banks are open for business      (including
dealings in foreign exchange and foreign currency deposits) in London.

         "Reference Banks" means four major banks in the London interbank market selected by the Calculation
Agent after consultation with the Collateral Manager.

         "Reference Dealers" means three major dealers in the secondary market for U.S. Dollar certificates of
deposit selected by the Calculation Agent after consultation with the Collateral Manager.

        The determination of the Note Interest Rate for each Class of Notes by the Calculation Agent shall (in the
absence of manifest error) be final and binding upon all parties.




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                                                    SCHEDULE      C


                                    FORM    OF BAILEE    LETTER       AGREEMENT


                                                                  ., 200




         Re_        Sale of Underlying Assets from Gemstone CDO VI Ltd. (the "Seller") to                           (the
                    "Purchaser") pursuant to that certain Purchase Agreement, dated as of             ,200__,   between
                    the Seller and the Purchaser (the "Agreement").

Ladies and Gentlemen:

         In connection with the above-referenced transaction, and in consideration of the mutual promises set forth
herein,                (the "Trustee"), the Seller, the Purchaser and            1 (the "Ballee") hereby agree to the
terms of this bailee letter (the "Ballee Agreement") as follows:

1.        On the date agreed upon by the Purchaser and the Seller (the "Delivery Date"), the Seller shall deliver to
the Bailee, as Bailee for the Seller, the securities identified on a schedule to be attached hereto as Schedule 1 with
respect to such Delivery Date (the "Underlying Assets").

2.        On the Delivery Date the Bailee shall issue in the name of the Seller, an initial trust receipt by facsimile
evidencing the Seller's ownership of the Underlying Assets in the form of Annex A hereto (the "Initial Trust
_"),         which shall state that the Bailee has received the Underlying Assets listed on the schedule attached to the
related Initial Trust Receipt.

3.        On the closing date for the sale of the Underlying Assets to the Purchaser, if the Seller has met the
conditions precedent set forth in the Agreement, the Purchaser shall disburse funds to the Seller pursuant to the
Agreement. Upon receipt of confirmation (which may be by Fed wire transfer number from the Purchaser) from the
Seller that the Purchaser has paid the purchase price as mutually agreed upon by the parties in full in immediately
available funds, the Underlying Assets shall be released to the Bailee for the benefit of the Purchaser, and the Bailee




                    Bank designated by Purchaser which shall meet the Successor Trustee Ratings Requirements.




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shall thereafter be bailee and custodian for the sole benefit of the Purchaser with respect to the Underlying Assets.2
Upon the Bailee's receipt of such confwrnation each Initial Trust Receipt with respect to the related Underlying
Assets thereafter shall automatically be canceled and shall be marked "Canceled" by Seller and shall be promptly
returned to the Bailee.

4.        From the Delivery Date until the closing date for the disposition of the Underlying Assets to the Purchaser,
the Bailee shall maintain continuous custody and control of the related Underlying Assets as the sole and exclusive
Bailee for the Seller.

5.       Upon payment of the purchase price in full in immediately available funds, each of the Seller and the
Trustee hereby releases all security interests, rights, liens or claims of any kind it may have with respect to the
related Underlying Assets. At any time prior thereto the Bailee shall immediately deliver to the Trustee all of the
Underlying Assets (i) upon receipt of a written direction from the Trustee to make such a delivery or (ii) if the
Bailee shall not have received notice from the Seller, by_             [date to be specified as no later than the tenth
Business Day before the Auction Call Redemption Date or the fifth Business Day before any other Redemption
Date], that the Purchaser has paid the purchase price in full in immediately available funds.3

6.       The Bailee shall indemnify and hold the Seller and the Trustee harmless against any and all losses,
damages, penalties or expenses incurred arising out of a loss or losses of any related Underlying Assets or any
component thereof from and after the Delivery Date to the closing date for the sale of the Underlying Assets to the
Purchaser, or arising from the Bailee's negligence, lack of good faith or willful misconduct.

7.        The Seller authorizes the Bailee to make the Underlying    Assets available for review to the Purchaser or
representatives of the Purchaser.

8.        The agreement set forth in this Bailee Agreement     may not be modified, amended or altered, except by
written instrument, executed by all of the parties hereto.

9.       For the purpose of facilitating the execution of this Bailee Agreement as herein provided and for other
purposes, this Bailee Agreement may be executed simultaneously in any number of counterparts, each of which
counterparts shall be deemed to be an original, and such counterparts shall constitute and be one and the same
instrument.




          2       If there are two different purchasers of the Subpools, modify to require that until payment in full
in immediately available funds is made for both Subpools, Bailee continues to be the sole and exclusive Bailee for
Seller for both Subpools, and security interest of Seller and Trustee will not be released.

          3       If there are two different purchasers of the Subpools, modify to require that until payment in full
in immediately available funds is made for both Subpools, Bailee continues to be the sole and exclusive Bailee for
Seller for both Subpools, and security interest of Seller and Trustee will not be released.




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10.      This Bailee Agreement shall be construed in accordance with the laws of the State of New York, without
reference to its conflict of laws rules (other than Section 5-1401 of the general obligations law, which the parties
hereto expressly rely upon in the choice of such law as the governing law hereunder) and the obligations, rights and
remedies of the parties hereunder shall be determined in accordance with such laws.

11.       This Bailee Agreement shall bind and inure to the benefit of and be enforceable by the Seller, the
Purchaser, the Trustee and the Bailee and their respective permitted successors and assigns. The terms "Selle......._r,"
"Trustee," "Bailee" and "Purchaser" herein shall be deemed to include any such permitted successors and assigns
thereof. No party to this Bailee Agreement may assign any or all of its rights and obligations hereunder without the
consent of the other party.

12.     Capitalized terms used herein and not otherwise defined shall have the meanings assigned in the Indenture.




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13.      This Bailee Agreement    shall supersede   any previous bailee agreements   executed   with respect to the
attached assets.

                                                              Very truly yours,




                                                              By:                                 , as Seller
                                                              Name:
                                                              Title:




                                                              By:                                 , as Purchaser
                                                              Name:
                                                              Title:




                                                              By:                                 , as Trustee
                                                              Name:
                                                              Title:




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ACCEPTED       AND AGREED:




By:                                       , as Bailee
Name:
Title:




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                                                 SCHEDULE D

                                               Auction Agent Fees

          The Auction Agent Fee shall be (a) $35,000 on the first Auction Date; (b) if the Auction Call Redemption
is not successful on the First Auction Call Date, $25,000 on the Distribution Date immediately following the First
Auction Call Date; and (c) $15,000 on each Auction Date thereafter, if any. The Auction Agent Fee accrued prior to
the resignation or removal of the Collateral Manager shall continue to be payable to the Collateral Manager on the
Distribution Date immediately following the effectiveness of such resignation or removal.




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                                                         SCHEDULE E

                                          Standard    & Poor's   Recovery   Rate Matrix

A.           If the Underlying Asset (which shall mean with respect to a Synthetic Security, the related Reference
             Obligation) is an Asset-Backed Security (other than a CMBS Security) and is the senior-most tranche of
             securities issued by the issuer of such Underlying Asset:

                                                        Liability Rating assigned by Standard & Poor's
     Initial Standard & Poor's                       A_A+         A+         BBB+        BB+         B+
     Rating of the Underlying                         AA           A          BBB         BB           B      CCC+ CCC
     Asset at Issuance              AAA              AA-          A-          BBB-       BB-          B-        CCC-
     AAA                               80.0%           85.0%        90.0%        90.0%    90.0%       90.0%       90.0%
     AA+, AA, AA-                      70.0%           75.0%        85.0%        90.0%    90.0%       90.0%       90.0%
     _+, A, A-                         60.0%           65.0%        75.0%        85.0%    90.0%       90.0%       90.0%
     BBB+, BBB, BBB-                   50.0%           55.0%        65.0%        75.0%    85.0%       85.0%       85.0%


B.           If the Underlying Asset (which shall mean with respect to a Synthetic Security, the related Reference
             Obligation) is an Asset-Backed Security (other than a CMBS Security) and is not the senior-most tranche
             of securities issued by the issuer of such Underlying Asset:

                                                        Liability Rating assigned by Standard & Poor's
     Initial Standard & Poor's                       A_A+         A+         BBB+        BB+          B+
     Rating of the Underlying                         AA           A          BBB         BB           B       CCC+ CCC
     Asset at Issuance              AA.A             AA-          A-          BBB-        BB-          B-        CCC-
                                      65.0%            70.0%       80.0%        85.0%       85.0%       85.0%      85.0%
     &A+, AA, A_A-                    55.0%            65.0%       75.0%        80.0%       80.0%       80.0%      80.0%
     A+, A, A-                        40.0%            45.0%       55.0%        65.0%       80.0%       80.0%      80.0%
     BBB+, BBB, BBB-                  30.0%            35.0%       40.0%        45.0%       50.0%       60.0%      70.0%
     BB+, BB, BB-                     10.0%            10.0%       10.0%        25.0%       35.0%      40.0%       50.0%
     B+, B, B-                         2.5%             5.0%         5.0%       10.0%       10.0%       20.0%      25.0%
     CCC+, CCC, CCC-                   0.0%             0.0%         0.0%        0.0%        2.5%         5.0%      5.0%


C.           If the Underlying Asset (which shall mean with respect to a Synthetic Security, the related Reference
             Obligation) is a CMBS Security:

                                                       Liability Rating assigned by Standard & Poor's
     Initial Standard & Poor's                       AA+         A+          BBB+       BB+           B÷
     Rating of the Underlying                        AA           A          BBB         BB           B       CCC+ CCC
     Asset at Issuance              AAA              AA-         A-          BBB-        BB-          B-        CCC-
     AAA                              80.0%           85.0%       90.0%        90.0%       90.0%       90.0%      90.0%
     AA+, AA, AA                     70.0%            75.0%       85.0%        90.0%       90.0%       90.0%      90.0%
     A+, A, A-                       60.0%            65.0%       75.0%        85.0%       90.0%       90.0%      90.0%
     BBB+, BBB, BBB-                 45.0%            50.0%       55.0%        60.0%       65.0%       70.0%      75.0%
     BB+, BB, BB-                    35.0%            40.0%       45.0%        45.0%       50.0%       50.0%      50.0%
     B+, B, B-                       20.0%            25.0%       30.0%        35.0%       35.0%       40.0%      40.0%
     CCC+, CCC, CCC-                   5.0%            5.0%         5.0%        5.0%        5.0%         5.0%      5.0%
     NR                                  0%            0.0%         0.0%        0.0%        0.0%         0.0%      0.0%




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                                                       SCHEDULEF


                                             Part 1 - Standard   & Pools   Ratings


Asset classes are eligible for notching if they are not f'u'st loss tranches or combination securities. If the security is
publicly rated by two agencies, notch down as shown below based on the lowest rating. If the security is publicly
rated only by one agency, then notch down what is shown below plus one more notch.                       The Aggregate
Principal/Notional Balance of Underlying Assets the Standard & Poor's Rating of which is based on a Fitch rating or
a Moody's rating may not exceed 20% of the Aggregate Principal/Notional Balance of all Underlying Assets, the
balance of which must be rated by Standard & Poor's or assigned Standard & Poor's rating estimates,


                                                  Issued prior to 8/1/01               Issued after 8/1/01
                                                     Current rating is:                 Current rating is:
                                                               Non Inv.
                                                 Inv. Grade      Grade               Inv. Grade   Non Inv.
                                                                                                   Grade
 1 .CONSUMER      ABS                                    -1             -2                   -2              -3
       Automobile Loan Receivable
       Securities
       Automobile Lease Receivable
       Securities
       Car Rental Receivables Securities
       Credit Card Securities
       Healthcare Securities
       Student Loan Securities


 2. COMMERCIAL          ABS                               -1               -2                -2              -3
        Cargo Securities
        Equipment Leasing Securities
        Aircraft Leasing Securities
        Small Business Loan Securities
        Restaurant and Food Services
        Securities


 3. Non-RE-REMIC RMBS                                     -1               -2                -2              -3
       Manufactured Housing Loan Securities

 4. Non-RE-REMIC            CMBS                          -1               -2                -2              -3
         CMBS - Conduit
         CMBS -   Credit Tenant Lease
         CMBS -   Large Loan
         CMBS -   Single Borrower
         CMBS -   Single Property

 5. CBO/CLO CASHFLOW
 SECURITIES                                               -1               -2                -2              -3
         Cash Flow CBO - at least 80% High
         Yield Corporate
         Cash Flow CBO - at least 80%
         Investment   Grade Corporate
         Cash Flow CLO - at least 80% High
         Yield Corporate
         CashFlow CLO - at least80%
         Investment   Grade Corporate




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 6. REITs                                                      -1           -2                -2        -3
        RE,IT   - Multifamily & Mobile Home
        Park
        REIT    -   Retail
        REIT    -   Hospitality
        REIT    -   Office
        REIT    -   Industrial
        REIT    -   Healthcare
        ILEIT   -   Warehouse
        REIT - Self Storage
        REIT - Mixed Use


 7. SPECIALTY          STRUCTURED                              -3           -4                -3        -4
        Stadium Financings
        Project Finance
        Future flows


 8. RESIDENTIAL              MORTGAGES                         -1           -2                -2        -3
        Residential "A"
        Residential "B/C"
        Home equity loans

 9. REAL ESTATE OPERATING
 COMPANIES                                                     -1           -2                -2        -3



                                         Part 2 - Standard & Poor's Asset Backed Categories

Each of the following categories of asset backed security shall constitute a separate asset backed class.      Securities
not included in any of these categories shall be assigned by Standard & Poor's.

Structured Finance Sectors

 ,       ABS Consumer
2.       ABS Commercial
3.       CDOs
4.       CMBS Diversified - Conduit and CTL
5.       CMBS - Large Loan, Single Borrower and Single Property
6.       REITs
7.       RMBS A
8.       RMBS B&C, HELs, HELOCs and Tax Lien
9.       Manufactured Housing
10.      Project Finance
11.      U.S. Agency- Explicitly Guaranteed
12.      Monoline/FER Guaranteed
13.      Non-FER Company Guaranteed
14.      FFELP Student Loan (Over 70% FFELP)


                                  Part 3 - Standard & Poor's Asset Classes Not Eligible to be Notched

The following asset classes are not eligible to be notched. Credit estimates must be performed.




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Asset Type

 .      Non-U.S. Structured Finance Securities
2.      Guaranteed Securities
3.      CDOs of Structured Finance and Real Estate Securities
4.      CBOs of CDOs
5       •CLOs of Distressed Debt
6.      Mutual Fund Fee Securities
7.      Catastrophe Bonds
8.      First Loss Tranches of any securitization
9.      Synthetics
10.     Synthetic CBOs
11.     Combination Securities
12.     Re-REMICs
13.     Market value CDOs
14.     Net Interest Margin Securities (NIMs)
15.     Structured Settlement Obligations
16.     Any asset class not listed on Part 1 above




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                                                         SCHEDULE G

                                                       Auction Procedures

         The following sets forth the auction procedures (the "Auction Procedures") to be followed in connection
with a sale effected pursuant to Section 9.3 of the Indenture. Capitalized terms used herein that are not otherwise
defined shall have the meanings described thereto in the Indenture.

I. Pre-Auction Process

        (a)      The Auction Agent will initiate the Auction Procedures             at least 24 Business Days prior to each
Auction Date by:

                      (i)        with the assistance of the Collateral Manager, preparing a list containing the names of the
                                 issuer and guarantor (if any), the par amount and the CUSIP number (if any) with respect
                                 to each Underlying Asset and such other information as shall be notified to the Trustee by
                                 the Collateral Manager;

                      (ii)       with the assistance of the Collateral Manager, preparing a list of the constituents of each
                                 Subpool which shall be based upon the Collateral Manager's good faith determination of
                                 the composition of Subpools that will maximize Disposition Proceeds; provided that the
                                 maximum number of Subpools shall be eight; and

                      (iii)      directing the Trustee to send the lists prepared pursuant to clauses (i) and (ii) above to the
                                 Qualified Bidders identified on the then-current Qualified Bidder List (the "Listed
                                 Bidders") and requesting bids on the Auction Date.

          (b)     The general solicitation package which the Trustee shall deliver to the Listed Bidders will include:
(i) a form of a purchase agreement provided to the Trustee by the Collateral Manager (which shall, among other
things, provide that (A) upon satisfaction of all conditions precedent therein, the purchaser is irrevocably obligated
to purchase, and the Issuer is irrevocably obligated to sell, the Underlying Assets (or relevant Subpool, as the case
may be) on the date and on the terms and conditions set forth therein and (B) if the Subpools are to be sold to more
than one bidder, the consummation of the purchase of each Subpool must occur simultaneously and the closing of
each purchase is conditional on the closing of each of the other purchases); (ii) the minimum purchase price; (iii) a
formal bid sheet (which shall permit the relevant bidder to bid for all of the Underlying Assets, any Subpool or
separately for each of the Subpools) provided to the Trustee by the Collateral Manager including a representation
from the bidder that it is eligible to purchase all of the Underlying Assets; (iv) a detailed timetable; and (v) copies of
all transfer documents provided to the Trustee by the Collateral Manager (including transfer certificates and
subscription agreements which a bidder must execute pursuant to the Underlying Instruments and a list of the
requirements which the bidder must satisfy under the Underlying Instruments (i.e., Qualified Institutional Buyer,
Qualified Purchaser, etc.)).

          (c)       The Trustee shall send solicitation packages to all Listed Bidders at least 15 Business Days before
the Auction Date. No later than 10 Business Days before the Auction Date, Listed Bidders may submit written due
diligence questions relating to the legal documentation and other information contained in the general solicitation
package (including comments on the draft purchase agreement to be used in connection with the Auction (the
"Auefion Purchase Agreement")) to the Collateral Manager; provided that the Collateral Manager shall only be
obligated to answer questions relating to the Collateral to the extent that it is able to do so by reference to
information which it is required to provide under the Management Agreement. The Collateral Manager shall be
solely responsible for (i) responding to all relevant questions and/or comments submitted to it in accordance with the
foregoing and (ii) distributing the questions, answers and revised final Auction Purchase Agreement to all Listed
Bidders at least five Business Days prior to the Auction Date.




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           (d)      To the extent that the information contained in the list of Underlying Assets or general solicitation
package and delivered to the Listed Bidders pursuant to clauses (a), (b) and (c) above is provided to the Trustee by
the Collateral Manager and is not true or accurate in any respect or is misleading in any respect, the Collateral
Manager shall indemnify the Trustee and its officers, directors, employees and agents for, and hold them harmless
against, any loss, liability or expense (including reasonable counsel fees) incurred without negligence, willful
misconduct or bad faith on their part, arising out of or in connection with the provision of such information by the
Collateral Manager to the Trustee, including the costs and expenses of defending themselves against any claim or
liability in connection with the exercise or performance of any of their powers or duties hereunder.

II. Auction Process

           (a)     The Collateral Manager or its Affiliates will be allowed to bid in the Auction if it deems
appropriate, but will not be required to do so. The Collateral Manager or its Affiliates shall not bid in the Auction if
it is the Auction Agent.

         (b)      On the Auction Date, all bids will be due by facsimile to the offices of the Trustee by 11:00 a.m.,
New York City time, with the winning bidder to be notified by 2:00 p.m., New York City time. All bids from Listed
Bidders will be due on the bid sheet contained in the solicitation package. Each bid shall be for the purchase and
delivery to one purchaser of (i) all (but not less than all) of the Underlying Assets or (ii) all (but not less than all) of
the Underlying Assets that constitute the components of one or more Subpools.

         (c)       If the Trustee receives fewer than two bids from Listed Bidders to purchase all of the Underlying
Assets or to purchase each Subpool, the Trustee shall decline to consummate the sale.

          (d)      Subject to clause (c), the Auction Agent shall identify as the winning bidder the bid or bids that
result in the Highest Auction Price (in excess of the minimum purchase price) from one or more Listed Bidders.

          (e)      Upon notification to the winning bidder(s), the winning bidder (or, if the Highest Auction Price
requires the sale of Subpools to more than one bidder, each winning bidder) will be required to deliver to the Trustee
a signed counterpart of the Auction Purchase Agreement no later than 4:00 p.m. New York City time on the Auction
Date. The winning bidder (or, if the Highest Auction Price requires the sale of Subpools to more than one bidder,
each winning bidder) shall be required to pay the full purchase price in cash prior to the sixth Business Day
following the relevant Auction Date, at which time all monies will be transferred into the Collection Account. If
payment in full of the purchase price is not made when due (or, if the Subpools are to be sold to more than one
bidder, if any bidder fails to make payment of the purchase price when due), the Trustee on behalf of the Issuer shall
decline to consummate the sale of each Subpool and shall give notice (in accordance with Section 9.3 of the
Indenture) that the Auction Call Redemption will not occur.




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                                                      SCHEDULE   H

                                           Form of Note Document Certificate

Address this Certificate to either of these two entities:

          [Deutsche Bank Trust Company Americas as Trustee
          1761 East St. Andrew Place
          Santa Ana, California 92705]

          [Gemstone CDO VI Ltd.
          c/o Maples Finance Limited
          P.O. Box 1093GT
          Queensgate House, South Church Street
          George Town
          Grand Cayman
          Cayman Islands]

         The undersigned hereby certifies that it is the beneficial owner of $[                ] in principal amount of
the [Class A-1 Floating Rate Notes] [Class A-2 Floating Rate Notes] [Class B Floating Rate Notes] [Class C
Floating Rate Deferrable Interest Notes] [Class D Floating Rate Deferrable Interest Notes][Class E Floating Rate
Deferrable Interest Notes] due August 17, 2046 of Gemstone CDO VI Ltd. and Gemstone CDO VI Corp., and
hereby requests the Trustee to provide to it a copy of the Indenture at the following address:

          Name:
          Address:

The beneficial owner is [PLEASE CHECK WHERE APPROPRIATE]:

          the Holder of a Definitive Note whose name appears on the Note Register; or

          the holder of a beneficial interest in a Global Note that hotds its interest through [INSERT NAME] that has
          provided a letter (attached hereto) acknowledging the same.




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    IN WITNESS WHEREOF, the undersigned has caused this certificate to be duly executed this __   day of



                                                      [NAME OF NOTE OWNER]


                                                      By:
                                                             Authorized Signature




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                                                       SCHEDULE    I

                                             Form of Note Owner Certificate

Address this Certificate to either of these two entities:

             [Deutsche Bank Trust Company Americas as Trustee
             1761 East St. Andrew Place
             Santa Ana, California 92705]

             [Gemstone CDO VI Ltd.
             c/o Maples Finance Limited
             P.O. Box 1093GT
             Queensgate House, South Church Street
             George Town
             Grand Cayman
             Cayman Islands]

          The undersigned hereby certifies that it is the beneficial owner of $[            ] in principal amount of
the [Class A-1 Floating Rate Notes] [Class A-2 Floating Rate Notes] [Class B Floating Rate Notes] [Class C
Floating Rate Deferrable Interest Notes] [Class D Floating Rate Deferrable Interest Notes][Class E Floating Rate
Deferrable Interest Notes] due August 17, 2046 of Gemstone CDO VI Ltd. and Gemstone CDO VI Corp., and
hereby requests the Trustee to provide to [it at the following address] [access to the Trustee's website in order to
obtain] the [Monthly Report specified in Section 10.8(a)] [Note Valuation Report specified in Section 10.8(b)] [to
provide to it at the following address notices pursuant to Section 6.2] of the Indenture:

         Name:
         Address:                                                                                               _


             IN WITNESS WHEREOF, the undersigned has caused this certificate to be duly executed this __     day of
         )




                                                                  [NAME   OF NOTE   OWNER]



                                                                  By:
                                                                          Authorized Signature




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                                              SCHEDULE J

                                               [Reserved]




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                                                SCHEDULE K

                                                  [Reserved]




          2        Workshare      Professional     comparison   of   pcdocs://docsny1/1202783/1      and
pcdocs://docsnyl/1206359/2.  Performed on 4/18/2006.
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                                                    SCHEDULE
                                                           L
                          MOODY'S
                                RATINGAND        MOODY'S WEIGHTED AVERAGE RATING

          The "Weighted Average Rating" on any Measurement Date is the number determined by dividing (i) the
sum of the series of products obtained for Underlying Assets (other than Underlying Assets which the Asset
Manager reasonably believes will default with respect to payment when next due and any Defaulted Securities) by
multiplying the Principal/Notional Balance on such Measurement Date of each such Underlying Asset by its
respective Moody's Rating Factor on such Measurement Date by (ii) the sum of the Aggregate Principal/Notional
Balance on such Measurement Date of all Underlying Assets that are not Underlying Assets which the Asset
Manager reasonably believes will default with respect to payment when next due and any Defaulted Securities. The
"Moody's Rating Factor" relating to any Underlying Asset is the number set forth in the table below opposite the
Moody's Rating of such Underlying Asset:

                                   Moody's Rating                        Moody's Rating Factor
                                        Aaa                                         1
                                       Aal                                         10
                                       Aa2                                         20
                                       Aa3                                         40
                                        A1                                         70
                                        A2                                        120
                                        A3                                        180
                                       Baal                                       260
                                       Baa2                                       360
                                       Baa3                                       610
                                        Bal                                       940
                                        Ba2                                      1,350
                                        Ba3                                      1,766
                                        B1                                      2,220
                                        B2                                      2,720
                                        B3                                      3,490
                                       Caal                                     4,770
                                       Caa2                                      6,500
                                       Caa3                                      8,070
                                    Ca or lower                                 10,000


          The "Moody's Rating" of any Underlying Asset (which shall mean with respect to a Synthetic Security,
the related Reference Obligation) will be determined as follows:

         with respect to any Asset-Backed       Security, for determining   the Moody's Rating as of any date of
determination:

                    (i)      if such Asset-Backed Security is publicly rated by Moody's, the Moody's Rating shall be
          such rating, or, if such Underlying Asset is not publicly rated by Moody's, but the Issuer or the Collateral
          Manager on behalf of the Issuer has requested that Moody's assign a rating to such Underlying Asset, the
          Moody's Rating shall be the rating so assigned by Moody's;

                   (ii)     If such Asset-Backed Security is not publicly rated by Moody's, then the Moody's Rating
          of such Asset-Backed Security may be determined using any one of the methods below:

                            (A)      with respect to any ABS type Residential Security not publicly rated by
                    Moody's, if such ABS type Residential Security is publicly rated by Standard & Poor's, then the
                    Moody's Rating thereof will be (1) one subcategory below the Moody's equivalent rating assigned
                    by Standard & Poor's if the rating assigned by Standard & Poor's is "A.A.A"; (2) two rating



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                   subcategories below the Moody's equivalent rating assigned by Standard & Poor's if the rating
                   assigned by Standard & Poor's is below "AAA" but above "BB+" and (3) three rating
                   subcategories below the Moody's equivalent rating assigned by Standard & Poor's if the rating
                   assigned by Standard & Poor's is below "BBB-"; and

                           (B)      with respect to any other type of Asset-Backed        Securities,   pursuant to any
                   method specified by Moody's;

provided that

(v)     the rating of either Rating Agency used to determine the Moody's Rating pursuant to any of clauses (i) or
        (ii) above shall be a public, non-exclusive rating (but not a rating estimate) that addresses the obligation of
        the obligor to pay principal of and interest on the relevant Underlying Asset in full and is monitored on an
        ongoing basis by the relevant Rating Agency,

(w)     the Aggregate Principal/Notional Balance of Underlying Assets the Moody's Rating of which is based on a
        Standard & Poor's Rating may not exceed 20% of the Aggregate Principal/Notional Balance of all
        Underlying Assets, the balance of which must be rated by Moody's or assigned Moody's rating estimates,

(x)     the ratings of no more than 10% of the Aggregate Principal/Notional Balance of all Underlying Assets may
        be assigned rating factors derived via notching from single-rated instruments,

(Y)     with respect to any one Rating Agency, the single-rated notched bucket may be no larger than 7.5% of the
        Aggregate Principal/Notional Balance of all Underlying Assets and

(Z)      if an Underlying Asset

         (A)      is placed on a watch list for possible upgrade by Moody's, the Moody's Rating applicable to such
                  Underlying Asset shall be two rating subcategories above the Moody's Rating applicable to such
                  Underlying Asset immediately prior to such Underlying Asset being placed on such watch list, if
                  such Underlying Asset is rated below "Aaa" by Moody's unless rated "Aal", in which case only
                  one subcategory above; and

         (B)      is placed on a watch list for possible downgrade by Moody's, the Moody's Rating applicable to
                  such Underlying Asset shall be (i) one rating subcategory below the Moody's Rating applicable to
                  such Underlying Asset immediately prior to such Underlying Asset being placed on such watch
                  list, if such Underlying Asset is rated "Aaa" by Moody's or (ii) two rating subcategories below the
                  Moody's Rating applicable to such Underlying Asset immediately prior to such Underlying Asset
                  being placed on such watch list, if such Underlying Asset is rated below "Aaa" by Moody's; and

provided further that, with respect to notched ratings on certain asset classes, the Moody's Rating shall be
determined in conjunction with the notching conventions set forth below.

S&P

         The following notching conventions are appropriate for S&P-only rated tranches. (The figures represent
the number of notches to be subtracted from the S&P rating. For example, a "1" applied to an S&P rating of BBB
implies a Moody's rating of Baa3.)




                                                               2

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                 ASSET CLASS                     AAA to AA-           A+ to BBB-              Below BBB-

        Auto loan                                       1                   2                          3
        Car Rental Fleet                                1                   2                          3
        CDO Domestic Corporate Debt               No notching         No notching        No notching permitted
                                                   permitted           permitted
        CDO Structured Product                    No notching         No notching        No notching permitted
                                                   permitted           permitted
        Consumer Asset-Backed                           1                   2                          3
        Credit Card                                     1                   2                          3
        Equipment Lease                                 1                   2                          3
        Manufactured                Housing             1                   2                          3
        Securities
        Small Business Loan                            1                    2                          3
        Student Loan                                   1                    2                          3



        Residential   Mortgage     Related (note that rating category groups differ here from above)
                                                     AAA             AA+ to BBB-              Below BBB-
        Jumbo A                                        1                   2                           3
        Alt -A or mixed pools                          1                    3                          4
        HEL (including Residential        A,           1                   2                           3
        Residential B&C)

Fitch

         The following notching conventions are with respect to Fitch:


        Residential Mortgage Related

                                                     AAA             AA+ to BBB-              Below BBB-

        Jumbo A                                        1                   2                           4

        Alt -A or mixed pools                          1                   3                           5

        HEL (including Residential        A,   No notching         No notching         No notching
        Residential B&C)



          For dual-rated Jumbo A or Alt-A transactions, take the lower of the two ratings on the security, apply the
appropriate single-rated notching guideline from above, then go up by 1/2 notch. For dual-related HEL (including
Residential A, Residential B&C) transactions, apply the Standard & Poor's-only rated tranche notching guidelines as
set forth above.




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CMBS

         The following CMBS notching conventions are with respect to S&P and Fitch:

       Commercial Mortgage Backed Securities


       ASSET CLASS                           Tranche Rated by Fitch and           Tranche Rated by Fitch
                                            S&P; no tranche in deal rated        and/or S&P; at least one
                                                    by Moody's                  other tranche in deal rated
                                                                                        by Moody's
       Conduit*                                 2 notches from lower of         1.5"* notches from lower of
                                                       FitctgS&P                         FitctgS&P
       Credit Tenant Lease                     Follow corporate notching         Follow corporate notching
                                                       practice                          practice
       Large Loan                                                No notching permitted

* For this purpose, conduits are defined as fixed rate, sequential pay, multi-borrower transactions having a
Herfindahl score of 40 or higher at the loan level with all collateral (conduit loans, A notes, large loans, CTLs and
any other real estate collateral) factored in.

** A 1.5 notch haircut implies, for example, that if the S&P/Fitch rating were BBB, then the Moody's rating factor
would be halfway between the Baa3 and the Bal rating factors.




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                                                                  SCHEDULE M

                                                MOODY'S        RECOVERY          RATE MATRIX

The recovery rate with respect to a Synthetic Security will be calculated using the related Reference Obligation.
                                                                                               ....                     o .......



  ABS Type Diversified ABS Securities€X):


                                                                  Initial Rating of Underlying Asset (3)
      % of Underlying
    Capital     Structure   (2)           Aaa              Aa               A            Baa               Ba     B

              >70%                        85%             80%              70%           60%            50%     40%

      <=70%, >10%                         75%             70%              60%           50%            40%     30%

              <= 10%                     70%              65%              55%          45%             35%     25%


 ABS Type Diversified             Residential    Seeurities¢4):


                                                                  Initial Rating of Underlying Asset (31
     % of Underlying
    Capital Structure 12_                Aaa               Aa               A            Baa            Ba       B

              >70%                       85%              80%             65%           55%           45%       30%

      <=70%, >10%                        75%              70%             55%           45%           35%       25%

      <=10%, >5%                         65%              55%             45%           40%           30%       20%

       <=5%, >2%                         55%             45%              40%           35%           25%       15%

              <=2%                      45%              35%              30%           25%           15%       10%


ABS Type Undiversified ABS Securities€S):


                                                                Initial Rating of Underlying Asset O)
    % of Underlying
   Capital Structure C2)                 Aaa              Aa               A            Baa             Ba       B

              >70%                      85%              80%              65%           55%           45%       30%

     <=70%, >10%                        75%              70%              55%          45%            35%       25%

      <--10%, >5%                       65%              55%              45%          35%            25%       15%

      <=5%, >2%                         55%             45%              35%           30%            20%       10%

          <=2%                          45%             35%              25%           20%            10%       5%




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ABS Type Low-Diversity        CDO SecuritiesC°:

                                                      Initial Rating of Underlying Asset (a)
   % of Underlying,
  Capital Structure ¢2)            Aaa          Aa              A            Baa               Ba    B

         >70%                      80%          75%            60%           50%           45%      30%

      <=70%, >10%                  70%          60%            55%           45%           35%      25%

      <=10%, >5%                   60%          50%            45%           35%           25%      15%

       <=5%, >2%                   50%         40%             35%           30%           20%      10%

         <=2%                      30%         25%             20%           15%               7%   4%



ABS Type High-Diversity       CDO Securities¢7):

                                                      Initial Rating of Underlying Asset C3)
   % of Underlying
  Capital Structure C2)            Aaa          Aa              A            Baa               Ba    B

         >70%                      85%          80%            65%           55%           45%      30%

      <=70%, > 10%                 75%         70%             60%           50%           40%      25%

      <=10%, >5%                   65%          55%            50%           40%           30%      20%

       <=5%, >2%                   55%         45%             40%           35%           25%      10%

         <=2%                      45%         35%             30%           25%           10%      5%




(1)      "ABS Type Diversified ABS Securities" refer to Automobile Securities, Car Rental Fleet Securities,
Credit Card Securities and Student Loan Securities.

(2)       Initial par amount of tranche to which Underlying Asset relates divided by initial par amount of total
securities issued by Underlying Asset issuer.

¢3)      The recovery rate for Underlying Assets rated Caal, Caa2 or Caa3 is assumed to be 10%.

c4)       "ABS Type Diversified Residential Securities" refer to Residential A Mortgage-Backed Securities,
Residential B/C Mortgage-Backed Securities, Non-Subprime Home Equity Loan Asset-Backed Securities and
Manufactured Housing Securities.

¢5)      "ABS Type Undiversified         ABS Securities" refer to Equipment Lease Securities and CMBS Securities.

(6)       "ABS Type Low-Diversity          CDO Securities" refer to any CDO Securities that are not High-Diversity
Securities.
                                                                     2

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(7)        "ABS Type High-Diversi_, CDO Securities" refer to any CDO Securities that entitle the holders thereof
to receive payments that depend (except for rights or other assets designed to assure the servicing or timely
distribution of proceeds to holders of the Asset-Backed Securities) on the cash flow from a portfolio of commercial
and industrial bank loans, other asset-backed securities or corporate debt securities (or any combination of the
foregoing) that are obligations of obligors or issuers that represent a relatively diversified pool of obligor credit risk
having a Moody's Asset Correlation Factor lower than 0.20 or a Moody's diversity score higher than 15. The
"Moody's Asset Correlation Factor" is a single number determined in accordance with the asset correlation
methodology provided from time to time by Moody's and listed in the latest Monthly Report or indenture of such
CDO Security.




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                                                                                    SCHEDULE                    N


                                                        Class D Priority                        Redemption           Amounts




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